Case 1:15-cv-00994-MAK Document1 Filed 10/30/15 Page 1 of 69 PagelD #: 1

UNITED STATES DISTRICT COURT

DISTRICT OF DELAWARE
JOHN L. PALMER, AS LIQUIDATION )
TRUSTEE FOR THE BAXANO )
LIQUIDATION TRUST, )
)
Plaintiff, )

) CA. No.
Vv. )

) JURY TRIAL DEMANDED
KENNETH REALI and JOSEPH P. )
SLATTERY, )
)
Defendants. )
COMPLAINT

Plaintiff, John L. Palmer, as Liquidation Trustee for the Baxano Liquidation Trust, by its
undersigned attorneys, for his Complaint against the defendants, Kenneth Reali and Joseph P.
Slattery alleges:

Introduction

1, Plaintiff, as Liquidation Trustee, seeks to recover damages against Defendants,
who are former officers of Baxano Surgical, Inc. (the “Company”), for their breaches of
fiduciary duties of loyalty and care, resulting in the loss in value of all the Company’s assets and
market capitalization in bankruptcy and the subsequent creation of the Baxano Liquidation Trust.

2. Defendants breached their fiduciary duties by repeatedly failing to provide the
Board of Directors of the Company (the “Board”) with accurate and reasonably achievable
projections of the Company’s future revenue and revenue growth prospects. Instead, Defendants
provided unreasonable, inflated and unachievable future revenue and revenue growth projections
when Defendants knew that their projections would be critical to strategic Board decisions to

address the Company’s plummeting revenue, increasing rate of cash burn, lack of an adequate
Case 1:15-cv-00994-MAK Document1 Filed 10/30/15 Page 2 of 69 PagelD #: 2

capitalization plan and diminishing ability_to obtain cash to sustain operations at high rates of
cash burn and, therefore, the Company’s entire future viability.

a. Defendants prepared forecasts and projections of the Company’s future revenue
and revenue growth for the Company’s Board and advisors through various budgets and plans
that were without any reasonable basis, and well beyond the bounds of reason, given the
Company’s historical results, the Company’s then-current financial condition, and the challenges
facing the Company, all of which were well known to Defendants. In providing such
unachievable, inflated revenue and revenue growth projections to the Board, Defendants acted
with reckless indifference to the effect on the Company and its long term viability.

4, Defendants’ unreasonable future revenue and revenue growth projections had the
effect of tempering the Board’s critical view of the Company’s repeatedly worsening financial
condition and actual dimming future prospects (instead represented by Defendants to be very
bright), and the Board’s view of Defendants’ ability to manage and resolve the situation.

5. Having misperceived the Company’s future prospects as bright, and the projected
time period for the company to generate break-even cash flow and profitability, the Board did
not adequately consider restructuring and right-sizing the Company (i.c., by dramatically
reducing the level of expenses and rate of cash burn) in a manner appropriate to the Company’s
actual revenue levels and realistically achievable future revenue and revenue growth prospects.

6. As a result of Defendants’ breaches of their fiduciary duties, the Company’s
entire value was destroyed as it was driven straight into bankruptcy.

7. Defendants’ improper actions alleged herein were not only grossly negligent and
recklessly indifferent, but motivated by self-interest. Defendants’ lucrative compensation
packages — which included a generous base salary, opportunity to earn substantial cash bonuses

and stock option grants — were keyed to executive compensation levels paid by other
Case 1:15-cv-00994-MAK Document1 Filed 10/30/15 Page 3 of 69 PagelD #: 3

comparable,_similarly-sized companies. in the medical-products. marketplace. _ Defendants’
compensation packages, however, were grossly excessive for the size and revenue level at which
the Company actually was operating and which its true, diminished future prospects warranted.

8. Defendants Reali and Slattery understood the personal risk to them because any
major reorganization of the Company and/or reduction of its cost structure would result in a
much smaller operation that could not support their then compensation levels — levels that were
increasing in each year — and the generous cash bonus compensation they had the opportunity to
earn each year pursuant to the Company’s Board approved Cash Bonus Plans. If the Company’s
operations were much smaller, the Board’s Compensation Committee would need to use
similarly sized comparable companies in setting Defendants’ compensation levels.

9. Defendants’ self-interested motivation is reflected in the fact that, while both the
Company’s revenues and its available cash for operations continually declined over the period at
issue here, Defendants obtained compensation and salary increases over the relevant time period.
And, as further alleged below, Defendant Reali undertook an expensive relocation of the
Company that was not necessary.

10. Defendants’ improper actions also were motivated by their self-interest in
maintaining their personal reputations within the medical-product business marketplace and the
investment community and with the Companies’ investors and stock analysts for as long as
possible, in the hope the Company’s fortunes would turn around before the lights went out.
Indeed, as further alleged below, Defendant Slattery told Defendant Reali that “the only friend
we’ ll have is time, and that will be limited by our cash.”

Jurisdiction & Venue
11. This Court has subject matter jurisdiction over all claims asserted herein pursuant

to 28 U.S.C § 1334 in that the matters alleged herein arise in and/or relate to causes of action
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 4 of 69 PagelD #: 4

__ under Title_11._This Court_also_has. subject matter_jurisdiction over all claims asserted herein. __

pursuant to 28 U.S.C § 1332 in that the matter in controversy exceeds $75,000 and is between
citizens of different States.

12, This Court has personal jurisdiction over the Defendants pursuant to 10 Del. C.
§ 3114 because the Defendants are former officers of the Company, which was organized under
the laws of the State of Delaware, and they have consented to service upon them for any action
against them for violation of a duty in their capacity as officers of the Company.

13. Venue is proper in this jurisdiction pursuant to 28 U.S.C. § 1408 and § 1409.

Parties

14, Plaintiff, John L. Palmer, is Liquidation Trustee for the Baxano Liquidation Trust.

15. | Kenneth Reali is an individual residing in Raleigh, North Carolina. Reali was the
Company’s President and Chief Operating Officer since January 2010. Reali served as the
Company’s Chief Executive Officer and member of the Company’s Board since January
2011. As a former officer of the Company, Defendant Reali has consented to service and this
Court’s jurisdiction pursuant to 10 Del. C. § 3114.

16. Joseph Slattery is an individual residing in Raleigh, North Carolina. Slattery was
the Company’s Executive Vice President and Chief Financial Officer since April 2010 and
served in that position until his resignation on September 19, 2013. Slattery previously served as
a member of the Company’s Board from November 2007 until April 2010. As a former officer
of the Company, Defendant Reali has consented to service and this Court’s jurisdiction pursuant

to 10 Del. C. § 3114.
Case 1:15-cv-00994-MAK Document1 Filed 10/30/15 Page 5 of 69 PagelD #: 5

Facts

A. The Company’s History and the Beginning of its Operational
Troubles, the Details of Which Were Well Known to Defendants

17. The Company was founded as a Delaware corporation in 2000 under the name
“XiaMed, Inc.” In February 2003, it changed its name to “TranS1 Inc.” and was headquartered
in Wilmington, North Carolina, and later Raleigh, North Carolina. As a result of a May 2013
acquisition and merger with Baxano Surgical, Inc. (referred to as “Baxano” when referencing the
pre-merger company), the Company again changed its name to Baxano Surgical, Inc., which
remained its name until it filed for bankruptcy protection.

18. While the Company operated at a loss since its inception, it had been able to fund
operations through proceeds from the sale of publicly traded securities following an initial public
offering in October 2007 and the revenue it earned primarily from its AxiaLIF implant product
and related surgical instruments. These products were sold to and used by surgeons in
performing spinal surgery, who thereafter received reimbursement for the medical procedure
from private and federally funded insurance companies. Because the Company derived its
revenue almost entirely from its AxiaLIF line of related products, the Company’s financial
viability (i.e., its ability to continue to sell stock and generate cash flow from operations) was
directly linked to its surgeon-customers’ willingness to use the product and ability to obtain
insurance reimbursements for AxiaLIF procedures. If insurance companies refused to reimburse
surgeons for an AxiaLIF procedure or surgeons otherwise refused to use AxiaLIF, the
Company’s revenue and sales would fall.

19. In January 2009, the American Medical Association changed the Current
Procedural Terminology (“CPT”) reimbursement code associated with AxiaLIF procedures and

re-classified it with a ““T” Code, i.e., as experimental. As a result, many public and private
Case 1:15-cv-00994-MAK Document1 Filed 10/30/15 Page 6 of 69 PagelD #: 6

insurers_would_not_reimburse_surgeons_ and_hospitals for_the_procedure_using the Company’s
AxiaLIF product. In addition, in May 2009, AxiaLIF received an unfavorable product review at
a national conference of spine surgeons.

20, As a result of these two events, AxiaLIF product sales and, in turn, the
Company’s revenues, began falling rapidly. For example, in 2009, the Company’s net revenues
totaled only $29.8 million which, although it was the Company’s historical revenue high point,
was $3.6 million (about 12.3%) less than the Company’s management had budgeted and planned
for in their 2010 budget and plan that they had presented to the Company’s board (the “Board”).

21. In 2010, total net revenue fell approximately another $3.7 million to $26.2
million, or about 12.4% lower than the 2009 revenue level. Even worse, the $26.2 million in
revenue reflected a $7 million miss (26.8%) from the $33.1 million that the Company’s
management had budgeted and planned for in their 2010 budget and plan that they had presented
to the Company’s Board.

22. The price of the Company’s common stock correspondingly fell from a high
closing price of $8.60 per share in May of 2009 to a low closing price of $1.76 in December
2010,

23. As of December 31, 2010, the Company had about $42.5 million in cash, cash
equivalents and short term investments. Primarily as a result of collapsing revenue from the
AxiaLIF product line, the Company’s cash burn rate (i.e., the amount that operating expenses
exceeded gross profits) at the time was approximately $4.9 million per financial quarter or about
$19.5 million per year. Thus, at the then-present revenue, expense and available cash levels, the
Company had enough cash to survive for about eight financial quarters, or through the end of
2012 (assuming net revenue from the AxiaLIF products did not dramatically increase, expenses

did not dramatically decrease, and the Company could not raise more money by selling stock).
Case 1:15-cv-00994-MAK Document1 Filed 10/30/15 Page 7 of 69 PagelD #: 7

24. Pursuant to_a shelf registration statement filed in _May 2011, the. Company
completed a secondary public offering in September 2011 of 6.2 million shares of common stock
at a price of $3.25 per share to raise additional cash (the “Secondary Offering”). The Secondary
Offering resulted in net proceeds to the Company of $18.3 million. This was the first public sale
of the Company’s common stock since its 2007 initial public offering.

25. Also in May 2011, a sealed qui tam false claims act lawsuit was filed against the
Company alleging, among other things, that it had essentially trained its surgeon and hospital
customers to submit false claims and documents to Medicare and the North Carolina State Health
Plan to obtain reimbursement for the AxiaLIF procedures under incorrect CTP billing codes.

26. In July 2011, Defendant Reali conducted a survey regarding surgeons’
perceptions of the AxiaLIF product. Among other things, the survey revealed surgeon concerns
over billing code and reimbursement issues, product efficacy, and limited indications for use and
potential complications. As further alleged below, a memo regarding the results of this survey
was created by Defendant Slattery in early 2013. Among other things, Slattery’s 2013 memo
repeated what Defendants had learned in July 2011 from the survey: AxiaLIF was “a technology
that will take a sustained and consistent sales and marketing effort for significant adoption.”
(Emphasis added).

27, In October 2011, the Company’s sales and surgeon training practices related to
AxiaLIF also became the subject of an investigation by the United States Department of Health
and Human Services, Office of Inspector General (“OIG”).

28. While the Company publicly disclosed that it had received a subpoena from OIG,
it did not disclose the nature or extent of the OIG’s investigation.

29. Following the Company’s disclosure of the OIG subpoena, the Company’s stock

price declined and, by late October/early November 2011, closed at a new low of $1.50 per
Case 1:15-cv-00994-MAK Document1 Filed 10/30/15 Page 8 of 69 PagelD #: 8

_share._ Importantly, the_investing. public_was_not_aware of the severity of the Company’s_
regulatory issues or of the fact that the Company’s surgeon and hospital customers were leaving
in droves, in part because the customers viewed the Company and the AxiaLIF product as
tainted.

30. The Company’s net revenue declined even more severely in 2011 to just over
$19.1 million, reflecting a $7 million drop (27%) from the 2010 level. Again, this was primarily
the result of lost AxiaLIF sales and the lack of surgeons who would use the products. Incredibly,
this decline constituted a massive $11 million revenue miss (36.4%) from the unreasonable $30
million in net revenue that Defendants Reali and Slattery had presented to the Company’s board
in their 2011 budget and plan.

B. The Defendants’ Handsome Salaries, Which Were Dependent on the
Company’s Operational Size

31, Defendants Reali and Slattery were paid base salaries of $360,000 and $293,550,
respectively, in 2011 and under the Company’s 2011 Cash Bonus Plan were eligible to earn
lucrative cash bonuses of up to 50% and 40%, respectively, of their base salaries under certain
performance objectives. These compensation levels, along with other compensation such as
stock option awards and various cash bonus plans, were premised in part on the market
capitalization of the Company as compared to the compensation packages for executives at
similarly sized medical device “peer group” public companies.

32. As of December 31, 2011, the Company had about $44.7 million in cash, cash
equivalents and short-term investments. This amount was primarily the result of the Company’s
Secondary Offering that had raised about $18.3 million in proceeds. As of the end of the fourth
quarter 2011, the Company’s cash burn rate was approximately $4.6 million per financial

quarter, or about $18.3 million per year. At the then-present revenue, expense and available cash
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 9 of 69 PagelD #: 9

_levels, the Company had enough cash to survive for about nine financial quarters, or_until the
first quarter of 2014, unless net revenue from the AxiaLIF products dramatically increased,
expenses dramatically decreased or the Company could raise more money by selling stock.
Absent the proceeds from the Secondary Offering, the Company would have had only about
$26.4 million in available cash and cash equivalents at year end 2011, such that the Company
would have had only enough cash to survive for about five financial quarters, or until the first
quarter of 2012, absent a dramatic revenue increase, expense decrease, or another cash raise.
Based on the Company’s poor 2011 year-end results, Defendants Reali and Slattery earned
$22,500 and $23,484, respectively, in cash bonuses under the 2011 Cash Bonus Plan, having
missed their revenue and available cash targets.

33. For 2012, Defendants Reali and Slattery secured raises from their 2011 base
salaries to new salary levels of $370,000 and $298,443, respectively. Reali and Slattery also
received payments of $90,000 and $58,710, respectively, under a Retention Bonus Plan approved
in 2011, as well as payments of $99,975 and $61,381, respectively, in non-equity incentive plan
compensation. In addition, Defendants Reali and Slattery also were awarded a total of $352,800
and $123,480, respectively, in stock options (an expense to the Company), for total 2012
Compensation of $912,775 for Reali and $690,701 for Slattery.

C, While the Defendants’ Salaries Continued to Swell, the Company’s
Revenues and Future Prospects Continued to Decline

34. The clear trend of collapsing AxiaLIF product revenue and loss of the Company’s
core surgeon and hospital customer base continued after 2011 and through 2012. As a result, the
Company’s revenues, available cash and ability to raise cash rapidly deteriorated, its future
prospects began to grow dimmer, and its options for long term viability became more limited

with the continuing revenue shortfalls.
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 10 of 69 PagelD #: 10

_35. _ Defendants Reali_and_ Slattery well_understood the critical relationship between_
the Company’s actual and projected AxiaLIF revenues, on the one hand, and the Company’s
future prospects and ability to obtain enough cash through future sales of common stock to meet
its cash burn needs, on the other hand. Defendants also knew the importance of the Board’s
understanding of whether the AxiaLIF product would generate enough income to justify the
Company’s continued high rate of cash burn or warranted adequate Board consideration of, and
action to undertake, a major reorganization to reduce the Company’s cost structure.

D. Defendants Presented an Unreasonable, and, Therefore, Misleading,

Long Range Plan for the Company’s Future Revenue and Revenue
Growth Prospects to Avoid Downsizing by the Board

36. During April 2012, Defendants Reali and Slattery created and provided to the
Board an unrealistic long range plan based on future revenue and revenue growth assumptions
for AxiaLIF that had no reasonable basis in the facts known to them, and were unachievable.
Simultaneously, Defendant Reali embarked on a plan to supplement, if not replace, the
Company’s lost AxiaLIF revenue base through the acquisition of other product lines or another
company that would cover for AxiaLIF’s long term diminished prospects.

37. Indeed, in an April 24, 2012 email, Defendant Reali expressed his intention to
expand the Company’s product portfolio or acquire another business with an existing product
line. Defendant Slattery, however, stated his concern that such a “strategy is currently missing a
capitalization plan that supports” it. In other words, the Company did not have the available
funds or current ability to raise the funds needed to successfully make such an acquisition.
Nevertheless, Defendant Reali began to embark on a screening process of potential acquisition
targets — with Baxano eventually being identified later in the summer as the most viable option.

38. Given the Company’s deteriorated financial condition and declining future

prospects, lack of an adequate capitalization plan, the interrelationship of the Company’s actual

10
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 11 of 69 PagelD #: 11

______ revenue to its rate of cash_burn, the amount of available cash until a cash “dry well,” and
Defendant Reali’s intent to pursue an acquisition strategy, Defendants knew or should have
known that their future projections for the Company’s revenue and revenue growth rates would
be critical to important and related decisions by the Company’s Board. These Board decisions
included whether to continue to raise cash, reduce and right size the Company’s operations to
actual revenue levels that stopped the cash burn, or to engage in any significant transactions,
such as the purchase of another company or product line.

39. Notwithstanding what was or should have been Defendants’ knowledge of the
importance of the accuracy of their revenue forecasts, an April 23-24, 2012 email string between
Defendants’ Reali and Slattery discusses their adjustments to AxiaLIF revenue growth
assumptions in their base case for the long range plan. The email string shows Defendants trying
to justify to themselves the revenue growth assumptions for AxiaLIF that they simply pulled out
of the air, without any reasonable basis, to enable them to present to the Board a rosy view of the
Company’s future prospects that justified the current size of the Company’s operations and large
cash burn rate.

40. In the April 23-24, 2012 email exchange Slattery revealed the rationale for
inflating the AxiaLIF revenue assumptions: “I expect that anything less will not be accepted by
the board given our investment plan, and performing less than that will be a big disappointment
to investors who have waited for this day, and that will make fundraising next year more
challenging .... The value of this company remains the potential for AxiaLIF.” (Emphasis
added). Defendants clearly knew the unreasonableness of the AxiaLIF revenue assumptions,
which Defendant Reali even acknowledged were too high, suggesting instead a lower 30%
AxiaLIF case growth projections for 2013 that “feels more right to me not from any

quantifiable way but just knowing what it will take to restart and the challenges in the spine

1]
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 12 of 69 PagelD #: 12

__. market — we.are going to need to_go_ broad to get cases and a lot of depth no longer exists — this
is going to take time and money.” (Emphasis added).

41. Defendant Reali further commented in the April 24 email discussion: “[f]or 2014-
17 — would model 30% growth per year.” In response, Slattery explained that “[t]he model has
40% AxiaLIF case growth. If I change nothing, then the Dec 2014 AxiaLIF case count is 184,
which is pretty close to the run rate when you joined [the Company]... . Do those seem
unreasonable? Comments from the first bullet apply — if we don’t think we can grow this
business 40% then we don’t have a license to hunt. If it is going to be much less than that,
then we don’t have a compelling investment profile and we need to rethink our cost structure.”
(Emphasis added).

42. Rather than tell the true facts, Reali agreed to Slattery’s inflated revenue
projections, instructing Slattery to “leave the sales numbers as is,” now that he understood
Slattery’s rationale and intent to tell the Board something that would justify the Company’s
continued size and fundraising efforts. In contrast, Reali instructed Slattery to “make damn sure
the S&M [sales and marketing] spend is correct. ... I would rather overemphasize this as I do
feel we are going to need a lot of muscle to get us over the hump for many reasons and short
changing this will not help us in the end. I would rather be very realistic on this.” [Emphasis
added]. That statement reflected that Defendants knew they were not being realistic on the other
assumptions in the long range plan, particularly their future revenue and revenue growth
forecasts for AxiaLIF.

43, Indeed, discussing the inter-relationship between the sales and marketing expense
assumptions in the long range plan, the inflated AxiaLIF revenue level projections and the
Company’s future cash needs, Slattery revealed how their manipulation of these numbers would

affect the Company’s projected cash needs. “So, if we increase the S&M spend, and lower the

12
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 13 of 69 PagelD #: 13
revenues as you suggest above, it will dramatically increase the cash requirements. His
continued comments show that Defendants were trying to find a combination of assumptions that
would present the Board an ideal, rather than truthful scenario: “[W]hat is provided here is a
high enough level of investment that we would underperform the average of the comps. If we
have to increase it further, it will exacerbate the issue. It does make sense, as I do not believe
that we can deliver this kind of growth with such a limited increase in S&M spend. This is the
big issue in the long range plan. We could easily put a scenario together that says we need
$100M in capital to get to cash break even.” This contrasts with Slattery’s “punchline”
conclusion, based on the inflated AxiaLIF revenue assumptions, that the Company would “need
to raise $62M over the years[] and .. . another $14M proceeds from stock options.”

44, Finally, the April 23-24 email chain further reveals that, while Reali wanted to
expand the Company’s product portfolio because “[t]oo many eggs in AxiaLIF will kill us and it
is too risky,” Slattery advised that “Our strategy is currently missing a capitalization plan that
supports it.... To me that means putting off investment that will take longer than a couple of
years to get a payback until we have the cash to support it. (Emphasis added).

45. Defendants provided the final Long Range Plan (Spring 2012 Update) (hereafter
the “2012 Long Range Plan”) to the full Board at its regular meeting held on May 3, 2012. The
Long Range Plan reflected Defendants’ previously overestimated projected 2012 net revenue of

about $17.6 million and, as follows, Defendants’ unrealistic and inflated revenue forecast for the

2013 to 2017 period:

 

 

 

 

 

 

 

 

 

 

_ — 2013 Fest | 2014 Fest | 2015 Fest | 2016 Fest | 2017 Fest
Total Revenue $27.9M $37M $49.6M $66.8M $90M
% increase over 58.9% 32.6% 34.0% 34.8% 34.7%
_prior year (rounded)
Income (loss) from ($22.4M) | ($20.1M) | ($15.6M) | ($8.6M) $2.1M
_operations (rounded)

 

13

 
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 14 of 69 PagelD #: 14

46. The full Board was not aware that Defendants’ future revenue and revenue growth
projections, for AxiaLIF in particular, were wildly optimistic and without a reasonable basis.
Nor was the full Board aware that Defendants had presented such inflated revenue projections so
that the Board would perceive a much more favorable view of the Company’s future prospects
than the Company reasonably could achieve, especially given the problems with its customer
base and lack of adequate cash to turn those problems around anytime soon.

47. The overly optimistic and unreasonable revenue projections in the 2012 Long
Range Plan also substantially tempered the adverse information about the Company’s current
financial condition that Defendants provided to the full Board on May 3, 2012 in an
accompanying PowerPoint presentation (the “PowerPoint Presentation”).

48. Among other things, the PowerPoint Presentation disclosed a variety of adverse
information about the Company’s current financial condition, e.g. that “Current cash levels
[were] inadequate to fund the business through end of 2013 (+/-)”; “Expect to need to raise at
least ~$20M in the late 2012/early 2013 timeframe”; “All scenarios point to roughly the same
amount”; “Will need to raise another at least $20M in the late 2013 (going concern)” and
“Should raise $40-50M to commit to cash flow b/e in offering.” The PowerPoint Presentation
also reflected that “Catalysts to drive [investment] interest [were] limited between now and mid-
2013,” but that Defendants “Expect to have a clear growth story in place late 2013/early 2014.”

49. Another portion of the PowerPoint Presentation revealed the results of a survey
conducted for the Company of spine surgeons’ view of the AxiaLIF product and their
willingness to use it. Among other things, it noted the “Top reasons for not using AxiaLIF” as
including the “T-Code/Reimbursement” issue, “Limited indications” for the product’s use and
the poor “Clinical Outcomes/Fusion Results” from the product. Thus, the PowerPoint

Presentation also reflected that, notwithstanding the Defendants’ anticipated need for cash (based

14
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 15 of 69 PagelD #: 15

on their inflated AxiaLIF revenue numbers, which need for cash would be even greater if the
revenue projections were realistic), the Defendants currently did not have a clear “growth story
in place” and the “Catalysts to drive [investment] interest” were limited until mid-2013.

50. As Defendant Slattery explained in his accompanying CFO Presentation to the
Board addressing the continuing loss of the Company’s surgeon customers, “We have no signs at
this point that we have reversed the trends in the business, where we are seeing a negative
feedback loop of lower business leading to rep turnover leading to lower business, although
headcount was more stable through the 4th and Ist quarters. We are beginning to see more cases
from our reimbursement coverage wins, but the numbers are small relative to the overall size of
the business.”

51. At the time Defendants presented the 2012 Long Range Plan, they also were
concerned that the Company would receive a “going concern” opinion from
PricewaterhouseCoopers LLP (“PWC”), the Company’s registered independent public
accounting firm. Defendants knew this likely would be coming in connection with PWC’s audit
and report on the Company’s year-end 2012 financial statements and information (which would
be filed with the Securities and Exchange Commission (“SEC”) on Form 10-K in about March
2013).

52. As explained in the standards of the Public Company Accounting Oversight
Board, AU Section 341.01 (“The Auditor’s Consideration of an Entity’s Ability to Continue as a
Going Concern’):

Continuation of an entity as a going concern is assumed in financial reporting in

the absence of significant information to the contrary. Ordinarily, information that

significantly contradicts the going concern assumption relates to the entity's

inability to continue to meet its obligations as they become due without
substantial disposition of assets outside the ordinary course of business,

restructuring of debt, externally forced revisions of its operations, or similar
actions.

15
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 16 of 69 PagelD #: 16

53, And, on top of all this, the Company still faced the consequences of the ongoing
OIG investigation into the Company’s sales and training practices relating to AxiaLIF, which
Defendants were unable to quantify.

54. Consistent with the 2012 Long Range Plan, however, Defendants’ PowerPoint
Presentation also presented to the Board a misleading and overly optimistic picture of the
Company’s future prospects. This was done through the inclusion of three scenarios for the
Company’s future prospects and cash raise needs: a “Base Case,” a “Downside Case” and an
‘Upside Case.” In sum, the three scenarios present a relatively narrow range of financing needs
over a relatively narrow time period range, thereby lending more credence to the Base Case
scenario. However, the Base Case scenario also was premised on Defendants’ inflated AxiaLIF
revenue and revenue growth assumptions, not reasonably achievable revenue and revenue
growth assumptions.

55. Thus, the Base Case included a “2013 Revenue Assumption” of 49% AxiaLIF
case growth and 2014-2017 revenue assumptions of 35% revenue growth year over year. Based
in part on these assumptions, Defendants projected the Company’s cash raise needs at a total of
approximately $80 million, comprised of $67 million raised over the four-year period between
2012 and 2015 and an additional $13 million raised from the exercise of stock options and
employee stock purchase plans.

56. In juxtaposition to the “Base Case,” Defendants provided a “Downside Case” that
included no specific revenue or revenue growth forecast numbers, and just noted Defendants’
assumptions that: ““AxiaLIF case trend continues slow decline”; “Slightly slower lateral case
growth” and “For 2012, slower AxiaLIF uptake (and from a lower base) due to payer coverage

gaps.” Under this Downside Case scenario, Defendants estimated the Company’s total “Cash

16
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 17 of 69 PagelD #: 17

raise needs” of about $97 million through 2016, or only about $17 million more than
Defendants’ Base Case, but over a longer five-year period. Without quantifying the “Downside
Case” revenue projections and suggesting that only an additional $17 million was needed over a
longer time period to profitability, the Downside Case indicated to the Board the inaccurate
appearance of minimal risk to the Company if AxiaLIF revenues and “case trend continue[d]
[their] slow decline,” a fact that Defendants knew or should have known would happen (and did
in fact happen).

57. In juxtaposition to both the “Base Case” and the “Downside Case,” Defendants
provided an “Upside Case” that included the following factors positively affecting the
Company’s revenue (but again, notably, no revenue assumption amounts are quantified): “Faster
AxiaLIF uptake due to payer coverage wins, strong execution (~ 50% unit growth).” Under this
Upside Case scenario, Defendants estimated the Company’s total “Cash raise needs” of about
$79 million through 2015.

58. Curiously, the various cash raise needs identified by Defendants under the
different case scenarios appear to have been pegged by Defendants within a range of expected
cash raise needs for comparable medical device companies experiencing the type of revenue
growth Defendants were incorrectly projecting to the Board, not the much reduced levels of cash
raise needs for comparable companies — like the Company — that had a product with declining
revenues and a disappearing customer base.

59. In light of what Defendants’ knew about the reasons for the loss of AxiaLIF sales,
i.e., that the AxiaLIF product and the Company were “tainted,” that most of the Company’s
surgeon and hospital customer base had left, and that the Company’s AxiaLIF sales were caught
in a “negative feedback loop,” Defendants’ inflated revenue and revenue growth projections in

the 2012 Long Range Plan and Base Case scenario were without a reasonable basis and were

17
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 18 of 69 PagelD #: 18

misleading to the full Board because they presented a materially inaccurate and overly optimistic
view of the Company’s future prospects.

60. On May 24, 2012, Defendant Slattery warned Defendant Reali to put off a
planned relocation of the Company from Wilmington, North Carolina, to Raleigh, North
Carolina, “given the cash situation.” As Slattery advised Reali, they would have to be able to
answer the question from investors:

If the markets are closed and we do not have a clear path to cash, what will we
have to do with this business in August/September to extend the cash reach?”
We’re back to Plan A, Al and Plan B approach, and the less cash we have the
more likely we'll be forced into a Plan C (distressed sale of the company). If the
markets close and the [Company’s stock] price drops below $2... then I doubt
the board will want us to raise any money. The only friend we’ll have is time,
and that will be limited by our cash.

Of course, the amount of cash the Company would have available greatly depended on the
revenues derived from AxiaLIF.

61. As Spring 2012 progressed, the Company’s options continued to narrow, while its
financial situation continued to deteriorate. This is documented in a June 12, 2012 email from
Defendant Slattery to Defendant Reali. Slattery warned:

We will run out of cash in Oct/Nov [2013], all else equal, excluding any OIG
settlement... . | am concerned about entropy here ([stock] price so low we can’t
raise enough money due to [the Company’s] public float caps), and we should
have a sense of urgency about adapting to the situation. That means trying to
raise as much as [cash] possible, as soon as possible, and cutting back our [cash]
burn as much as possible to extend our cash runway 1-2 quarters. The only thing
we can control right now is our burn, and our revenue outlook for the rest of this
year... is bordering on optimistic.

Slattery continued:

We need to cast a wide net of how to keep this business capitalized. That
includes discussions with strategics. If the concept of an equity investment does
not sound feasible, it cannot hurt to include it in a list of options where we are
welcoming the concept of equity investment, license of international distribution
rights, co-branding AxiaLIF or some other transaction that is of interest to
strategics. Since that would take 6-9 mos to effectuate, if we are unable to

18
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 19 of 69 PagelD #: 19

_adequately finance the business by next March, that is the only option we’ll have
available at that time so we should prepare for that.

62. Inthe June 12 email, Slattery also provided his view of what should be discussed
at the next board meeting in August. Among other things, Slattery advised that he and Reali
should tell the Board that the Company’s revenue “could grow more akin to the ‘upside’ long
range plan [i.e., the Upside Case presented to the Board at the May 3 meeting], but the cash need

3”

was basically consistent with what was reported at the last meeting.” Thus, Slattery suggested
that they “[g]o over” with the Board the Upside Case as the “‘new’ long range plan.”
Simultaneously, however, Slattery also advised Reali that they should tell the Board that they
“need to explore (a) scaling back the business and (b) interacting with strategics as back-up
plans. .. . I appreciate the objection to the last bullet, but based on the current assessment, we
have to escalate contingency plans. By the time we report in August, we’ll be getting direct
questions about the need to raise cash.”

63. Critically, Slattery’s June 12 email also revealed Defendants’ early knowledge
about a substantial and risky $1 million “stocking order” sales transaction the Company was
considering with a Chinese distributer that eventually was consummated in the fourth quarter of
2012. That $1 million transaction helped Defendants avoid an even larger revenue miss relative
to Defendants’ budget and revenue projection of $17.6 million (2012 net revenue, including the
$1 million channel stuffing transaction, totaled just $14.6 million): “I think that if we can get a
$1M order from China, we should take it. Whatever the risks are, they will be offset by higher
revenue, better cash flows over the next six/nine months, and optimism about the business.”

64. Notably, the Company had previously engaged in other similar “stocking

transactions” that appear to be channel stuffing activity, particularly within the Company’s

international division.

19
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 20 of 69 PagelD #: 20

65. But, with respect to the China transaction in particular, the propriety of
recognizing the entire approximate $1 million of revenue, i.e., anything beyond the initial
payment of approximately $500,000, was questionable at the time because there was no
persuasive evidence that collection was reasonably assured for the remaining balance of the
approximate $500,000 amount owed to the Company.

66. In a July 25, 2012 email, Defendant Slattery acknowledged the continuing
deterioration of the Company’s year-end 2012 available cash position to just $20.0 - $20.5M due
to lower than projected revenue and higher than budgeted expenses. As Slattery stated “[T]hat
creates a problem for the thesis of extending the cash runway into the beginning of 2014. Id
really like to go into the board meeting with a plan on how we get back to $22M in cash at year
end. We have our cost review tomorrow, and we could try to close the gap there, but I think it is
going to take some pretty major | 80s to make that happen... .”

67. On August 1, 2012, the Company’s Audit Committee met, during which PWC
specifically advised ‘“‘of the timing and consideration of disclosures surrounding [a] going
concern” opinion in connection with PWC’s audit and report on the Company’s year-end 2012
financial information and statement to be filed with the SEC on Form 10-K. Because a going
concern opinion by PWC was imminent — and would reflect that the Company’s recurring losses
and negative cash flows from operations raised substantial doubt about its ability to continue
operating through 2013 — the price of the Company’s public traded common stock was likely to
decline, making it that much more difficult and dilutive for the Company to raise enough
additional capital through sales of stock to fund operations for an adequate period of time.

68. At the August 2, 2012, full Board meeting, Defendants Reali and Slattery
discussed some of the risks in the Company’s existing business, including the continuing decline

3°

in revenue, loss of surgeons and hospitals, and “Record AxiaLIF cancellations in June (38%)

20
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 21 of 69 PagelD #: 21

Defendant Reali’s presentation acknowledged that ‘“[t]he AxiaLIF base continues to be the
greatest risk,” and explained that:

due to budget constraints we have decided to forgo the rebranding exercise for

this year. After dissecting the business and the surgeons we will reengage with the

category I code we feel we can wait a year to rebrand. Much of 2013 will be

focused on regaining past customers who fell off due to reimbursement rather

than new users who view AxiaLIF as a tainted name.

69. In connection with the Company’s financing needs, Defendants also discussed
some of the Company’s alternatives, including their discussions with a number of private equity
investors and strategic parties, noting in the Board presentation that, “in addition to conventional
institutional investors, we have pursued venture/crossover funds and signed an NDA ... with
follow up meetings scheduled this week.”

70. Once again, however, Defendants continued to project undue optimism to the
Board about the Company’s future prospects, particularly relating to the revenue forecast from
the AxiaLIF product line. Again, Defendants did not adequately advise the Board of the need to
materially reduce their 2012 Long Range Plan, including the Base Case scenario they previously
provided to the Board in the PowerPoint Presentation at the May 3 meeting, despite knowing of
even more revenue misses, that increased expenses were causing an even larger increase in the
rate of cash burn and, moreover, of the “negative feedback loop” relating to the Company’s sales
efforts, particularly for AxiaLIF.

71. Instead, Defendants plainly represented to the Board that the Company could
achieve the incredibly optimistic Upside Case discussed at the May 3 board meeting and then
presented the board with their “Long Range Plan (June 2012 Update)” that reflected it (hereafter

the “Updated 2012 Long Range Plan’). While the Updated 2012 Long Range Plan reduced

Defendants’ previously overestimated projected 2012 net revenue of about $17.6 million to just

21
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 22 of 69 PagelD #: 22

$14.7 million, Defendants essentially doubled down on their unreasonable future projections and

inflated revenue forecast for the 2013 to 2017 period as follows:

 

 

 

 

 

 

 

 

 

 

 

2013 Fest | 2014 Fest | 2015 Fest | 2016 Fest | 2017 Fest

Total Revenue $24.3M $41.9M $69.7M $107.6M | $152.7M
(rounded)
% increase over 65.3% 72.4% 66.2% 54.5% 41.9%
prior year

(rounded)
Income (loss) from | ($19.9M) | ($14.8M) | ($4.7M) $12.6M $34.8M
operations

| (rounded)

 

72. The full Board was not aware that Defendants’ Updated 2012 Long Range Plan
revenue projections were even more wildly optimistic than those presented at the May 3 meeting
in the prior 2012 Long Range Plan. The full Board also was not aware that Defendants had
again misstated the revenue projections in a manner that presented the Board an even more
favorable long term view of the Company’s future prospects than the Company reasonably could
achieve given the problems with its customer base and lack of cash or a capitalization plan to
deliver such incredible results. Thus, the overly optimistic and unreasonable revenue projections
in the Updated 2012 Long Range Plan once again tempered the adverse information about the
Company’s current financial condition that Defendants also provided to the full Board at the
August 2, 2012 board meeting.

73. Indeed, apparently to support their overly optimistic view of the Company’s
prospects, Defendants began including in the August board package a number of selected analyst
reports that, consistent with Defendants’ Long Range Plan, echoed Defendants’ expectations for
increased revenues in late 2012 and beyond. And, consistent with the analysts’ lower 2012 year-
end revenue estimates, Defendants similarly lowered those estimates from what they had initially

forecasted in their 2012 Budget and Plan (the “2012 Budget’’) previously provided to the Board.

22
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 23 of 69 PagelD #: 23

74, Given Defendants’ Updated 2012 Long Range Plan, the revenue projections for
AxiaLIF, the increase in those future projections over what Defendants had provided to the
Board at the May 2, 2012 Board meeting, and Defendants’ representations that the Company
would achieve the Upside Case, the Board continued to have a fundamental misperception of the
Company’s future prospects, and did not have the critical adverse information about the
Company’s true, dismal, future prospects to adequately decide whether to consider alternatives
such as a disposition of assets outside the ordinary course of business or substantial revisions to
the Company’s operations to right size them as a way of addressing the Company’s growing
financial difficulties.

75. In presenting the unreasonable forecast information to the full Board in the
manner they did, while knowing that the AxiaLIF revenue and revenue growth projections did
not have a reasonable basis, Defendants breached their fiduciary duties to the Company of
loyalty and care. Similarly, Defendants also wasted the Company’s assets.

76. In light of the Company’s historical losses, deteriorated financial condition, high
rate of cash burn, unknown consequences of the outstanding OIG investigation and the lack of a
compelling “story” to tell investors, Defendants’ actions improperly colored the Board’s view of
the Company’s future prospects in an unrealistically favorable way, thereby presenting an
unwarranted reason for the Board to approve Defendants’ long range plans and not undertake the
necessary measures to avoid eventual bankruptcy, such as a major revision to the Company’s
operations, reduction in operating structure and slashing of expenses.

77. Defendants understood that a dramatic reduction in the size of the Company to
align expenses with revenue and eliminate cash burn could result in a substantial reduction of

Defendants’ lucrative compensation and cash bonus packages that were keyed to comparably

23
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 24 of 69 PagelD #: 24

sized companies, and the additional adverse impact on Defendants’ personal reputations in the
industry.

78. Had Defendants not included the inflated revenue forecasts in their 2012 budget
and long range plans, but instead presented realistic and achievable revenue forecasts based on
the prior downward revenue trends in AxiaLIF that the Company actually experienced, the full
Board would have been able to properly evaluate the Company’s actual future prospects in light
of its adverse current financial condition and could have adequately considered alternative
actions and made informed decisions to save the Company’s value.

79. Similarly, had the full Board known that Defendants’ critical revenue and revenue
growth assumptions in the 2012 budget, their long range plans, and the three scenarios in the
PowerPoint Presentation were overstated to present a better picture of the Company’s future
prospects, the full Board could have heavily discounted Defendants’ future projections and taken
corrective and remedial action to right size the Company.

80. Right sizing, at this point, easily could have been achieved by the Board since the
Company had gross profits, in 2012, of approximately $10.3 million in revenue, on about $14.6
million in revenue, reflecting about a 71% gross margin. Substantially reducing the Company’s
total operating expenses of approximately $40 million, the bulk of which was for sales,
marketing, general and administrative expenses, and research and development costs, would
have restored the Company to profitability. But the Board did not appreciate the need for this fix
because it relied on Defendants’ misrepresentations about the Company’s bright future revenue

and revenue growth prospects.

24
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 25 of 69 PagelD #: 25

E, Defendants Presented to the Board Unreasonable, and, Therefore,
Misleading, Future Revenue and Revenue Growth Prospects in
Advance of the Baxano Merger

81. On August 23, 2012, the Company’s Board held a special meeting to discuss a
possible acquisition of Baxano. The Board encouraged Defendant Reali to initiate
communications with an investor in Baxano. This resulted in a non-disclosure agreement, the
commencement of discussions and preliminary due diligence of Baxano.

82. On October 10, 2012, the Company engaged the financial advisory firm Stifel,
Nicolaus, Weisel (‘“Stifel’) to act as the exclusive financial advisor to the Company in
connection with its analysis of a potential acquisition of Baxano and to provide to the
Company’s Board of Directors a fairness opinion in connection with any proposed transaction.
As further alleged below, Stifel’s fairness opinion was subsequently delivered to the Company
on March 1, 2013 and incorporated into the Company’s May 9, 2013 Proxy Statement filed with
the SEC (the “Proxy”).

83. On October 18, 2012, a special meeting of the Board was held to discuss the
status of the proposed Baxano transaction. At the meeting, representatives from Stifel presented
to the Board their analyses of the Company, Baxano and the combined company (the “Stifel
Presentation”), based on projections provided by Baxano’s management regarding Baxano (and
as adjusted by Defendants), and revenue projections and other information provided by
Defendants regarding the Company on both a stand-alone basis and a pro forma basis (as if
combined with Baxano) (the “Pro Forma Projections”).

84. The Stifel Presentation reflected that on a pro forma basis, the combined
company’s revenue would grow an astonishing 150% in 2013 from 2012 actuals, an additional
100% in 2014, another 67% in 2015, followed by 47% in 2016 and 37% in 2017. This

translated into projections of total revenue for the combined company (i.e., on a pro forma basis)

25
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 26 of 69 PagelD #: 26

of $37.1 million in 2013, $74.1 million in 2014, $123.7 million in 2015, $181.3 million in 2016,
and $248.8 million in 2017. Thus, the Stifel Presentation also reflected that these revenue levels
would drive net income from operations over the same period such that the combined company
would be cash flow positive (and profitable) by 2015 as follows: 2013 net loss of $25.7 million,
2014 net loss of $12.3 million, 2015 net income of $11.6 million, 2016 net income before taxes
of $40.5 million, and 2017 net income before taxes of $76.5 million.

85. Based on what Defendants knew about the Company’s “tainted” AxiaLIF product
line, the loss of its customer base, and the repeated substantial misses of Defendants’ revenue
projections in prior budgets, Defendants’ revenue and revenue growth projections for the
Company on a stand-alone and pro forma basis were not reasonably achievable and, therefore,
lacked a reasonable basis.

86. Absent knowledge of the lack of a reasonable basis for Defendants’ revenue
projections, and instead relying on the skewed nature of those projections, the Company’s Board
was unable to adequately evaluate Defendants’ strategy to acquire Baxano, particularly since the
Company did not have an adequate long term capitalization plan in place and given the
Company’s actual declining revenues and deteriorated financial condition. Thus, the Board
approved Defendants’ strategy to acquire Baxano and Defendant Reali’s request for
authorization to deliver to Baxano a non-binding letter of intent to enable the commencement of
due diligence.

87. On November 1, 2012, the Company held its regular board meeting to discuss the
Company’s financial results from the third quarter of 2012. At the meeting Defendants provided
an update on Baxano and a discussion of PWC’s intended going concern opinion on the
Company’s financial statements for the year ending December 31, 2012 to be filed with the SEC.

Among other things, Defendant Slattery addressed the Company’s substantial revenue miss for

26
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 27 of 69 PagelD #: 27

the quarter noting, “Current quarter-to-date revenue was $3.2M, which was unfavorable to plan
by $1.3M, or 28%, as our AxiaLIF surgeon base continued to decline while our overall surgeon
total including VEO was steady at 89 in both Q3 and Q2.”

88. Addressing AxiaLIF’s results specifically, Defendant Slattery stated:

In the third quarter, we saw a 15% sequential drop in our case count, with single

level cases dropping 16% and 2-level cases decreased by 12%. October is

trending at 55 cases which is approximately the Q3 monthly average. ... Ona

sequential basis, the declines in both cases and active surgeons have remained

high. On a year-over-year basis, active surgeons declined significantly while case

losses continued at high levels. We have no signs at this point that we have

reversed the trends in the business.

89. Although Defendants presented to the Board a revised 2012 budget (the “Revised
2012 Budget”) that was consistent with the reduced 2012 revenues set forth in the Updated 2012
Long Range Plan provided to the Board at the August board meeting, Defendants still did not
retract their overly optimistic projection of the Company’s future revenue and revenue growth
set forth in the updated Long Range Plan or in the Pro Forma Projections (relating to the Baxano
transaction) provided to the Board on October 18, even though Defendants lacked a reasonable
basis for such projections based on Defendants’ knowledge about the Company’s “tainted”
AxiaLIF product line, loss of its customer base, repeated substantial misses of Defendants’
revenue projections in prior budgets, and that there were “no signs at this point that we have
reversed the trends in the business.”

90. Had Defendants properly advised the Board of the Company’s true diminished
future prospects, or that their future projections lacked a reasonable basis, and instead
recommended that the Board permit them to right size the Company in a manner appropriate for
its reasonably expected reduced revenue levels, a substantial portion of the Company’s assets

and market capitalization could have been saved. Additionally, the Company’s accumulated

deficit could have been capped, and it likely would not have needed to eventually take on debt in

27
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 28 of 69 PagelD #: 28

December 2013 secured by all of its assets, resulting in a forced sale in bankruptcy of all its
assets.

91, As alleged above, right sizing easily could have been achieved by the Board since
the Company had gross profits in 2012 of approximately $10.3 million on revenue of about
$14.6 million, reflecting about a 71% gross margin. The Board could have right-sized the
Company to profitability, had it known of the Company’s true diminished future prospects, by
reducing the Company’s total operating expenses. The Board did not appreciate the need to do
this because Defendants had misrepresented the Company’s future prospects to be much brighter
than they actually were and that the Company only needed enough cash to bridge the time gap to
reach profitability.

92. On December 14, 2012, Defendants and Baxano’s management began discussing
the need for financing to support the combined companies post-merger. Baxano’s management
indicated that certain Baxano stockholders had expressed interest in participating in a potential
financing of $15 million.

93. On December 20, 2012, the Board held another special meeting in which
Defendants presented their 2013 Budget and Plan (the “2013 Budget”). The 2013 Budget
revealed that Defendants anticipated actual total net revenue for 2012 of just under $14.6 million,
reflecting a 24% decline from 2011 net revenues of $19.2 million and nearly a $3 million
revenue miss from the $17.6 million Defendants had initially projected in their 2012 Budget (a
17% miss), but just under the 2012 revenue Defendants projected in their Updated 2012 Long
Range Plan. However, that revenue number included the questionable $1 million channel
stuffing transaction with a Chinese distributor that Defendants anticipated earlier in the year and

knew was “risky.”

28
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 29 of 69 PagelD #: 29

94, Indeed, the Company only ever received about half of the payment, and the
products sold apparently still remain held in Chinese customs to this day while the Company
itself was forced to fully reserve approximately $500,000 for the balance of the transaction value.
Absent that transaction, the Company’s 2012 revenues would have been materially lower and
Defendants’ would have materially missed even their reduced 2012 revenue projections
contained in their Updated 2012 Long Range Plan.

95. The 2013 Budget also reflected that, as of December 31, 2012, the Company only
would have available cash of approximately $21.5 million on a stand-alone basis, enough to fund
operations only through the end of 2013.

96. On December 26, 2012, the Board held a special meeting to discuss the OIG
settlement negotiations and approved a settlement for $6 million that would not be completed
until mid-2013. The funds to repay this settlement, whether paid in full or on an extended plan,
would clearly have a material impact on the Company’s rate of cash burn and available cash for
the continuation of operations. Indeed, as of year-end 2012, the Company’s cash burn rate had
leaped to approximately $7.5 million per financial quarter or about $29.9 million per year,
primarily as a result of collapsing revenue, increased expenses and accruals relating to the OIG
settlement. At then-present revenue, expense and available cash levels, the Company had
enough cash to survive for only about three financial quarters, or until the third quarter of 2013,
unless net revenue from the AxiaLIF products dramatically increased, expenses dramatically
decreased or the Company could raise more money by selling stock.

97. In a January 5, 2013 email, Defendant Slattery outlined his concerns and analysis
of the Company’s cash burn rate and cash needs relating to the timing of the Baxano transaction.
Importantly, Slattery acknowledged that they likely would not be able to reduce Baxano’s

approximate $1 million per month cash burn in the first year, that at best the combined company

29
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 30 of 69 PagelD #: 30

only would have between 7 to 8 months of cash post-merger, not including the OIG settlement
payments, and that because they “already scrubbed out much of the slack in our [Defendants’ ]
plan .. . if we come up short on revenue, the runway will be shorter... . I think the Board’s
comment that we should get as little cash from them as possible was very one-dimensional. We
need as much cash as possible from this deal. Short of $15M, we will [] have such a short cash
runway it will force our hand on a financing, and will be a factor in retention, where Iam
more sensitive to retaining their key people to protect the revenue stream. My gut is that cash
burn will be higher than we think post-deal, at least for the first 6-12 mos.” (Emphasis added).

98. As alleged above, a critical component to the Company’s rate of cash burn is the
amount of revenue it can achieve. Any overstatement in forecasted revenue that does not come to
fruition would result in a corresponding increase in cash burn, absent other expense savings.
Defendants fully understood this and Defendant Slattery’s comment on the Board’s view of “as
little cash as possible from this deal” reflected the Board’s overly optimistic misperception at the
time of the Company’s future revenue and revenue growth prospects and corresponding cash
burn and need for cash post-merger, given Defendants’ previous unreasonable revenue and
revenue growth forecasts in the 2012 Budget and the Updated 2012 Long Range Plan.

99. On January 13, 2013, Defendants caused a memorandum they created at that time
to be placed into the due diligence file for Baxano to review, explaining the results of the survey
Defendant Reali conducted in July 2011 regarding surgeons’ perceptions of the AxiaLIF product.
The memo addressed the challenges the Company still faced regarding the tainted AxiaLIF
product, notwithstanding that Defendants had been trying to address such challenges since 2010.
Curiously, the memo concluded that surgeon’s perceptions were “symptomatic of a technology
that has not been aggressively sold or marketed since 2009 and the advent of the category III

code. Much of what nonusers know has been painted by the competition and not TranS1....

30
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 31 of 69 PagelD #: 31

[AxiaLIF] is a technology that will take a sustained and consistent sales and marketing effort
for significant adoption.” (Emphasis added).

100. On or about January 13-16, 2013, the Company held special meetings of the
Board and a Transaction Committee appointed to discuss the status of the Baxano transaction
including the results of the Company’s due diligence, the offer term sheet, and a presentation on
the value of the transaction by Stifel. As a result, the Board authorized Defendants to proceed
with full due diligence and the extension to Baxano of an offer term sheet that included a $15
million financing by Baxano stockholders simultaneous with the closing of the acquisition. The
Company and Baxano entered into the term sheet on January 17, 2013 and commenced full due
diligence.

101. During due diligence, Defendants learned that Baxano also had engaged in
channel stuffing or “stocking order” sales transactions that inflated its fourth quarter 2012
revenues. In a January 21, 2012 email, Defendant Slattery reported to Defendant Reali “I asked
George [Harter] how January was going given the stocking orders. He said that, although he was
as nervous as I am, they are trending well in January so far, ahead of their plan.” This was in
addition to Defendants’ prior knowledge — reflected in a November 7, 2012 email exchange
between Defendants Slattery and Reali — that Baxano had repeatedly missed its own budgeted
revenue targets as recently as during the third quarter of 2012. As Defendant Slattery put it
“[a]nother way to say it — they missed their September plan by 20%, they missed their October
plan by 17%... .” Thus, Defendants knew or should have known that Baxano’s fourth quarter
2012 channel stuffing transactions created the appearance that sales of Baxano’s products and
the resulting revenues were materially growing when in reality they were not.

102. On January 19, 2013, the Board held another special meeting to discuss the

Baxano transaction in which Stifel presented its valuation model of Baxano, the results of that

31
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 32 of 69 PagelD #: 32

model (based on Defendants’ future revenue projections), and its determination that the
transaction would be accretive to the Company’s shareholders. Among other things, the terms
and details of an offer and the proposed transaction were discussed.

103. A February 3, 2013, email exchange between Defendants Reali and Slattery
reflects that Defendants knew by that time that Baxano’s value was reduced based on the fact
that Baxano’s management had lowered its own revenue projections for 2013. Defendant
Slattery also estimated that the combined company would have a $13-$14 million cash “hole,”
defined by Defendant Slattery as the “negative cash balance of newco [i.e, the combined
Company] mid-2014.”

104. Among other things, the February 3, 2013, email exchange also reflects
Defendant Slattery’s view that:

The value of their business (discounted cash flow) is much less than what we had

before. . . . So, on a discounted cash flow basis, we are paying $30M for

something that is worth $5.6M (or according to the football field negative $4.2M

to $15.3M.).

Now, that is not the only metric by which we evaluate the deal, but it is so far off
that it demands special consideration. I’1l come back to that.

We also value this deal on the synergy that it generates. We’ve discussed this
before - we shouldn’t pay them up front (by giving them an extra helping of
shares) for synergy when we are all shareholders of NewCo - they should earn
their synergy on the same timetable we do. In the last two models (Oct and
January), we were effectively giving them very little synergy up front.

The synergy of this deal does create value for our existing shareholders, but it
gives a very high, disproportionate share of the overall synergy to their
shareholders (because we are paying $30M for a business that is worth $5M)....

Here is what I think we can/should say to the board:

e Strategic rationale intact

e Deal creates incremental value to existing TSON [Company] shareholders

e ...In spite of the fact that the DCF for their standalone business is much lower than
we are paying

...Because we are creating so much value from the synergy

32
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 33 of 69 PagelD #: 33

.. And don’t forget that we are financing this deal with TSON stock that is valued
at a premium to its peers (always good to use stock as currently when it is
overvalued on a relative basis)
e However, doing this deal creates a $10-$15M immediate cash need
o Given the low DCF for their business versus what we are paying, we are
increasing the risk that the share price could trade down after the deal
o So, putting off a raise probably is a risk not worth taking
e FULL STOP. Before we go giving a recommendation that we talk to Delphi (and
others), we test the committee’s resolve given all these new facts (what we are
paying is worth more to us than the DCF says). I think they will react one of two
ways:
o Tell us to call Baxano to renegotiate price
o Tell us that they understand and want to know how we think we can fill the
hole
e So, I don’t think we should be presumptuous and jump straight to the
recommendation to call Delphi.

105. Importantly, the February 3, 2013 email further reflects Defendants’
understanding of the impact of inflated revenue projections on the Company’s future prospects,
noting in the context of Defendant Reali’s potential renegotiation talking points:

1. Your [Baxano’s] 2013 revenue plan has changed materially since we last saw
it. You took down your io-Tome plan by >20%. And it relies far too
enthusiastically on io-Tome.

2, Your current expense forecast is too low. You are increasing revenue 100%
and S&M is flat to last year. With 20% commission on 90% of your business,
this is not logical.

3. Your current balance sheet forecast is unachievable. Your plan says that you'll
grow sales by 100% while reducing your inventory by 50%, in the same year
that you are launching a second product.

4, Our analysis of the product is that it is a very solid niche product, but it is not
a $100M product, particularly not in five years as your plan suggests.

5. All these first four items roll into a long range outlook that is far less rosy than
your long range plan

6. The cash raise needs of NewCo over the next two years are substantially
higher than what we had anticipated because of the above changes to the
model as well as the new expectation that the debt will have to be satisfied

7. So, the discounted cash flow value of your business went from $25-30M on
our last analysis to at best $15M based on our calculations. The board is
uncomfortable with this type of premium, particularly when the real value of
this deal is in the synergy, in which you will share as NewCo shareholders. At
$30M (the value we are paying in the term sheet), we are already giving you
$25M in synergy up front, and that doesn't make sense.

8. [We can go from there, but to me the ask would be to pay $20M for their
business, which is still giving them $15M in synergy value up front).

33
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 34 of 69 PagelD #: 34

106. On February 14, 2013, the Board held its regular meeting to review the
Company’s prior year fourth quarter financial results. At the meeting, Defendant Slattery
discussed that Company’s $4.1 million revenue for the fourth quarter 2012 — that “included
revenue of $1.0M for the initial shipment of AxiaLIF Il, 2L and facets to our new distributor in
China, which was included in the revenue Forecast for December” — was in line with the Revised
2012 Budget Defendants had presented to the Board at the November 1, 2012 Board meeting,
but was $1.3 million (24%) less than the $5.4 million in revenue that Defendants had projected
for the fourth quarter 2012 in Defendants’ original 2012 Budget.

107. Defendant Slattery also reported that, on a consolidated basis, the Company
earned only approximately $14.6 million in revenue or about $3 million (17%) less than the
original $17.6 million estimated in Defendants’ original 2012 Budget, reflecting a revenue
decline of about $4.6 million (24%) less than the Company’s 2011 revenue.

108. But for the December China “channel stuffing” transaction, the Company’s 4th
quarter 2012 revenue would have missed the Revised 2012 Budget by approximately 25% and
would have missed Defendants’ original 2012 Budget by a massive $2.3 million or 43%. It also
would have caused material misses for Defendants’ total revenue projections for 2012. This
further reflects the unreasonableness of Defendants’ revenue and revenue growth forecasts in the
2012 Budget and Revised 2012 Budget at the time they were made, particularly since the reason
for the reoccurring revenue misses were continuing declines in AxiaLIF product sales and the
number of active AxiaLIF surgeons.

109. Defendant Reali, during his report to the Board at the February 14 meeting
regarding the value drivers for the Company, told the Board “[g]aining broad base payor

coverage will come down to utilization of our category I code (i.e., the billing reimbursement

34
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 35 of 69 PagelD #: 35

code). The more surgeons we can get to perform AxiaLIF and work with our hot line to submit
claims to private payors the greater chance we have of reversing current negative policies on
AxiaLIF that were put in place with the t-code.” Thus, Defendant Reali recognized that the
primary driver for Defendants’ unreasonable projected future revenue and revenue growth
estimates for the Company — which were incorporated into Defendants’ Updated 2012 Long
Range Plan and Pro Forma Projections for the combined company provided to the Board at the
November 1, 2012 Board meeting — depended upon getting surgeons (who had abandoned
AxiaLIF in droves, were still leaving, and had not returned) to use the AxiaLIF product they
considered “tainted” and at the risk of not getting reimbursed for the surgery. Moreover, as
Defendants also knew, this herculean task of reversing the negative AxiaLIF sales trend would
take a long time, would be more difficult without adequate sales resources and focus, and would
be even more difficult if the merger with Baxano resulted in the loss of Baxano’s sales force, as
Defendant Slattery had predicted in his January 5, 2013 email if there was not enough cash and
financing to run the combined Company.

110. Despite all this knowledge, at the February 14, 2013 Board meeting Defendants
did not revise their November | Revised 2012 Budget, their Updated 2012 Long Range Plan, or
Pro Forma Projections for the combined company. Defendants knew or should have known that
the lack of any further changes to the already rosy forecasts reinforced the Board’s unrealistic
and unreasonable view of the Company’s future prospects, all at a critical ttme when the Board
needed to adequately consider all options and take appropriate action to protect the Company and
its assets. Instead, Defendant Reali, along with representatives of Stifel, reminded the Board
regarding the strategic reasons for the Baxano transaction, updated the Board as to the status of
negotiations and due diligence results, and discussed Stifel’s valuation models, the

contemporaneous Private Placement Transaction, and the Company’s need for additional

35
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 36 of 69 PagelD #: 36

financing. Not surprisingly under these circumstances, the misinformed Board took no action to
stop the merger and right size the Company.

111. On or about February 28, 2013, Defendants prepared a pro forma, condensed
combined consolidated balance sheet and statement of operations for the year ended December
31, 2012 (i.e., as if the Company and Baxano previously had been merged). This provided a
baseline of the combined company’s 2012 revenue, cash burn and available cash, among other
things. The statement of operations reflected that, after adjustments, the combined company had
a total of just under $24 million in revenue in 2012, total operating expenses of about $65.6
million and a net loss of approximately $49.4 million.

112. On March 1, 2013, the Company’s Board held a special meeting to review the
proposed Baxano transaction and Private Placement, among other things. At the meeting, Stifel
indicated its intent to deliver its fairness opinion based on its prior report it had distributed to the
Board at the special January 19, 2013 meeting. But once again, Defendants did not retract their
overly optimistic projections of the Company’s standalone future revenue and revenue growth in
the 2013 Budget or the Updated 2012 Long Range Plan, all of which was incorporated in the Pro
Forma Projections and Defendants’ other pro forma revenue and revenue growth projections
previously provided to the Board, that were inflated and lacked a reasonable basis as a result.
Instead, Defendants continued to project an unreasonably positive future outlook for the post-
merger combined company’s future revenue and revenue growth, providing an unreasonably
optimistic view of the Company’s future prospects. As further alleged below, all of this same
overly optimistic information was relied upon by Stifel in advising the Board regarding the
transaction and in Stifel’s fairness opinion on the transaction.

113. Consequently, the Board did not have adequate information, but had

misinformation, when it considered, discussed and resolved to allow Defendants to enter into the

36
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 37 of 69 PagelD #: 37

merger, conduct the related Private Placement Transaction and issue a Proxy Statement to solicit
the Company’s shareholders to approval these transactions. Lacking such information, the Board
accepted Defendants’ recommendation that the Baxano transaction and Private Placement
Transaction were advisable and in the best interests of the Company and its stockholders, when it
was not. Thus, notwithstanding the Company’s deteriorating financial condition and true
diminished future prospects (which the Board was unaware of), the Board could not, did not and
did not know that it needed to seriously and fully consider other alternatives to the high risk,
overpriced, Baxano acquisition, such as a restructuring and right-sizing of the Company.

114. Had Defendants (1) not included the inflated revenue and revenue growth
forecasts in their 2013 Budget, Updated 2012 Long Range Plan, and Pro Forma Projections for
the combined companies post-merger; (2) fully advised the Board on March 1, 2013 that the
Company’s revenues at the end of 2012 contained channel stuffing transactions that masked the
Company’s revenue misses compared to Defendants’ original and Revised 2012 Budgets and
that Baxano’s revenues at the end of 2012 also contained channel stuffing transactions that
created the appearance of revenue growth; and (3) properly adjusted their revenue and revenue
growth projections for the Company and the combined company, the full Board would have had
the missing and critical information it needed to properly determine that the Baxano merger was
not in the best interests of the Company. Indeed, the full Board would have known that the
combined company’s post-merger future prospects were much dimmer, given the combined
company’s even higher cash burn rates, overstated revenue prospects, and lack of an adequate
long term capitalization plan.

115. Thus, the Board was prevented from adequately considering, and did not
adequately consider, reasonable alternative options to the Baxano acquisition, such as right-

sizing the Company.

37
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 38 of 69 PagelD #: 38

116. On March 3, 2013, Baxano and the Company executed the Merger Agreement
and related agreements and the Company and investors executed the Securities Purchase
Agreement. A joint press release announcing the Merger and the Private Placement Transaction
was issued on March 4, 2013.

117. On March 6, 2013, the Company filed with the SEC its audited financial
statements for the year ending December 31, 2012. In connection with its audit report, PWC
stated its opinion of substantial doubt that the Company could continue as a going concern in
2013.

118. On May 2, 2013, the Board held its regular meeting to review the Company’s first
quarter 2013 financial results. At the meeting, Defendant Slattery explained that “current year-
to-date revenue was $3.1M, which was unfavorable to Plan by $1.3M, or 29.5%, as our AxiaLIF
surgeon base had a slight decline over Q4 but the predominant miss was due to lower case
volume. .. . Revenue versus the prior year also showed decreases in AxiaLIF products. »
Defendant Reali noted that the Company’s “QI core TranS1 sales (AxialiF and VEO) were
below expectations as we struggled with case volume overall from our current customer base.”
Reali also noted that one of the Company’s impediments to getting more private payers to
approve reimbursement for AxiaLIF products was partially due to “current negative views on
AxialiF such as the Hayes report which still has a neutral to less than positive view on AxialiF.
This report has definitely hurt us with some payers.”

119. Once again however, Defendants did not reveal to the Board that their revenue
projections in the 2013 Budget were unreasonable, did not revise their Updated 2012 Long
Range Plan, and did not reveal that their Pro Formal Projections for the combined company

provided to the Board at the November 1, 2012 Board meeting were unrealistic and

unreasonable. This was right at a critical time when the Board needed to adequately consider all

38
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 39 of 69 PagelD #: 39

options and take appropriate action to protect the Company and its assets — which the Board did
not do and did not appreciate the urgent need to do. Instead, the Board allowed Defendants to
continue down the path of the Baxano acquisition and represent in the upcoming Proxy that the
Board recommended that the Company’s shareholders vote to approve the Baxano acquisition
and related financing.

120. On May 9, 2013, Defendants announced the Company’s first quarter 2013
financial results and issued guidance for the second quarter and year-end 2013, stating that the
Company had achieved just $3.0 million in revenues for the quarter ended March 31, 2013 and
that:

for the second quarter ending June 30, 2013, the Company expects total revenues

in the range of $4.0 - $4.5 million, which assumes closing of the Baxano merger

on May 31, 2013. On a pro forma basis, including Baxano’s revenue through May

31, 2013, the Company expects total revenues in the range of $5.6 - $6.3

million. For the full fiscal year 2013, on a pro forma basis for the combined

companies, the Company now expects total revenues in the range of $25 - $29
million versus prior guidance of $28 - $32 million.

121. Defendants simultaneously filed the Proxy with the SEC on Form DEFM -14A on
May 9, 2013. The purpose of the Proxy was, among other things, to solicit shareholder approval
for the Baxano transaction and accompanying Private Placement transaction.

122. The Proxy, signed by Defendant Reali on behalf of the Board, included pro forma
information (reflected in the chart below) regarding the combined Company’s estimated 2013
revenue and future revenue projections for 2014-2017. Notably, while the 2013 estimated
revenue was relatively conservative it was still higher than Defendants’ guidance issued the same
day on Form 8-K.

123. The Proxy’s 2013-2017 pro forma projections of increased revenue levels and

inherent revenue growth rates in each year 2014- 2017 were without a reasonable basis. For

example, they reflected $32.2 million additional revenue (an astronomical growth rate of 96.4%)

39
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 40 of 69 PagelD #: 40

in 2014, $38.7 million additional revenue (growth rate of 59%) in 2015, $52.7 million additional
revenue (growth rate of about 51%) in 2016, and $67.9 million additional revenue (growth rate

of 43%) in 2017:

 

2013E 2014P 2015P 2016P 2017P

 

 

Revenue $33.4 $65.6 $104.3 | $157.0 $224.9
(in millions)
Net income/(loss) | ($28.0) ($18.4) $7.9 $35.4 $61.4

 

 

 

 

 

 

 

(in millions)

 

124. However, based on Defendants’ knowledge at the time, these revenue and
revenue growth projections, particularly in 2014, were not achievable and lacked a reasonable
basis, particularly since Defendants already had lowered their second quarter and year-end 2013
guidance the same day.

125. Defendants also knew that both the Company and Baxano had engaged in channel
stuffing types of sales transaction to meet short term revenue targets — an act that would deplete
future sales revenue by pulling it into the current period in which the sale was consummated and
recognized — and intended to keep on doing it. For example a May 6, 2013 email exchange
between Defendant Reali and another Company executive reflects Defendant Reali asking “the
probability of getting a Mexican stocking order this quarter and how much” in connection with
Reali’s ongoing efforts to complete the Q2 2013 revenue forecast. The executive’s response
reflects the channel stuffing nature of the sale: “The stocking order is currently for $177,000. I
am negotiating VEO prices which could potentially reduce VEO order by $25,000. I’m driving
for $1875 per cage, but they are saying they will not be able to drive volume at that level.”

126. Defendants also knew at the time that both Baxano’s and their own budgeting and
revenue forecasting activities were not accurate or reasonably achievable given that the
Company and Baxano repeatedly had materially missed their respective budgets and revenue

projections,

40
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 41 of 69 PagelD #: 41

127. And, perhaps most importantly, Defendants also knew or should have known at
the time that the combined Company’s future revenue forecasts lacked a reasonable basis and
presented a more favorable view of the combined Company’s prospects than Defendants knew
could be achieved. For example, a May 25, 2013 email from Defendant Slattery to Defendant
Reali regarding projected expenses, cash burn and financing needs of the combined Company for
purposes of closing a $10 million “hole” as of June 30, 2014, suggests that if they can narrow
that hole to “within $2M, we plug it to synergy and make it happen.”

128. As the Proxy itself reflected in connection with the Company’s stand-alone
revenue projections, which were incorporated into the combined company’s pro forma
projections, “Total Revenue for 2013 assumes growth over the prior year as a result of increased
sales of its AxiaLIF products, due primarily to the establishment of a Category I code providing
broader reimbursement,” “Total Revenue for 2014 assumes continuing growth as a result of
increased sales of its AxiaLIF products, due primarily to the broader private reimbursement

2

coverage,” and “The Company’s projected Total Revenue for the periods 2015-2017 assumes
broad reimbursement for the AxiaLIF products.” Based on Defendants’ knowledge at the time,
however, these assumptions lacked any reasonable basis, but Defendants never disclosed that to
the Company’s Board, to Stifel, or to the Company’s shareholders in the Proxy.

129. As the Proxy Statement further disclosed, Stifel relied on Defendants’ various
revenue and revenue growth projections in advising the Company’s Board regarding the
transaction including with respect to its fairness opinion:

On March 1, 2013, Stifel delivered its written opinion, dated March 1, 2013, to

the Company’s Board of Directors that, as of the date of the opinion and subject

to and based on the assumptions made, procedures followed, matters considered,

limitations of the review undertaken, and qualifications contained in such opinion,

the aggregate consideration to be paid by the Company in the Merger pursuant to
the Merger Agreement is fair to the Company, from a financial point of view.

4]
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 42 of 69 PagelD #: 42

With respect to estimates, forecasts or projections of the Company’s or Baxano’s
future financial performance prepared by or reviewed with the Company’s
management (including, without limitation, the Target Projections, the Expected
Synergies, and estimates and projections relating to possible future debt or equity
financings by the Company on both a standalone basis and on a pro forma
combined basis assuming acquisition of Baxano, in each case for the periods
reviewed for Stifel’s discounted cash flow analysis) or obtained from public
sources, Stifel relied upon the statements of the Company’s management that such
estimates, forecasts, and projections (and the assumptions and bases therein) are
reasonable and achievable and, with the consent of the Company’s management,
assumed that such estimates, forecasts, and projections represent the best
available estimates, forecasts, and projections and have been prepared in good
faith on assumptions which, in light of the circumstances under which they were
made, are reasonable, as has been represented and warranted by the Company or,
with respect to estimates, forecasts and projections obtained from public sources,
represent reasonable estimates, forecasts and projections and that such estimates,
forecasts and projections provided a reasonable basis upon which Stifel could
form its opinion.

130. In determining to recommend the transaction to the Company’s shareholders and
resolving to allow Defendants to close the transaction subject to shareholder approval, the
Company’s Board clearly relied on Defendants’ pro forma revenue projections, as well as
Stifel’s fairness opinion that itself relied on Defendants’ revenue projections. As the Proxy
Statement provided in relevant part:

Reasons for the Merger

Our Reasons for the Merger

Our Board of Directors believes that the Merger will provide substantial benefits

to our business and operations. In reaching its determination to approve the

Merger Agreement and the transactions contemplated thereby, and to recommend

that our stockholders approve the proposal regarding the issuance of shares of our

common stock pursuant to the Merger Agreement, our Board of Directors

identified several potential benefits for our company and for our stockholders,
including:

e the potential for significant revenue growth from Baxano’s MIS spine

platform including the proprietary iOFlex Decompression device and the

iOTome facet removal systems; .. . and

e the potential to improve our financial profile by improving our margins
and shortening the expected timeline to achieve breakeven cash flow.

42
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 43 of 69 PagelD #: 43

With respect to the last bullet above, we considered two margins in determining
that acquiring Baxano may improve our margins and shorten the expected
timeline to achieve breakeven cash flow: contribution margin (after selling
expenses) and operating margin (after all operating expenses). We expect
contribution margin to improve due to the overall increase in scale of the
combined business, resulting in a lower impact of fixed costs on contribution
margin, as well as the ability to eliminate duplicative costs, such as personnel,
travel, sales meetings, trade shows, and consultants. Our operating margin is
likewise expected to improve due to the overall increase in scale of the combined
business, not only driven by an increase in contribution margin, but also through
the ability to eliminate duplicative general and administrative expenses and
research and development costs. This improvement in operating margin is the
primary contributing factor to our belief that we will be able to achieve breakeven
cash flow earlier as a combined business than on a standalone basis. [In an April
4, 2013 letter, the SEC required Defendants provide this explanation upon its
review of a prior draft of the Proxy Statement].

Our Board of Directors consulted with our management, as well Stifel and legal
counsel, in reaching its decision to approve the Merger Agreement and the
transactions contemplated thereby. The factors that our Board of Directors
considered include:

e the potential benefits described above;

e historical information concerning Baxano’s business, financial
performance, financial condition, operations, and management and the
potential for significant revenue growth and gross margin improvement of
the combined company, particularly given the cost synergies expected to
be achieved through the Merger, the successful commercialization of
Baxano’s products, and the companies’ complementary customer bases;

e our management’s view of the complementary nature and fit of Baxano’s
business with ours and its current business prospects;

¢ our management’s view of the financial condition, results of operations,
and business of Baxano and us before and after giving effect to the Merger
and information regarding the Merger’s potential effect on our stockholder
value;

e reports from our management and legal and financial advisors regarding
the results of the due diligence investigation of Baxano;

e the opinion of Stifel as to the fairness to the Company, from a financial
point of view, of the Merger. ...

43
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 44 of 69 PagelD #: 44

131, Relying on the recommendation of the Board, the revenue projections and
Stifel’s fairness opinion, as all set forth in the Proxy Statement, the Company’s shareholders
voted to approve the Baxano acquisition and the Private Placement transaction.

132. On or about May 31, 2013, the transaction closed and Baxano was merged into
the Company. Thus, as a direct result of Defendants’ misinformation, the Company entered into
the Baxano merger. Had the Board (or the Company’s stockholders for that matter) been
properly informed, the Board could have undertaken measures to terminate further consideration
of the Baxano acquisition and, instead, right size the Company.

133. As alleged above, this right sizing easily could have been achieved by the Board
to preserve a large portion of the Company’s assets, cash flow and market capitalization. The
Board did not do so because it relied on Defendants’ inflated future revenue and revenue growth
projections that lacked a reasonable basis.

134. Defendants’ improper actions alleged herein were significantly motivated by their
self-interests, including those related to their compensation. Notwithstanding the Company’s
deteriorating condition and true diminished prospects, Defendants’ compensation for 2013
increased. For example, Defendant Reali’s base compensation increased from $370,000 in 2012
to $400,000 in 2013. Defendant Slattery’s 2013 base compensation also increased significantly
from the 2012 level of $298,443.

F. Defendants Engage in a Wasteful Relocation Process that Serves Only
Their Self-Interest

135. Consistent with prior actual revenue trajectories for Baxano and the Company
before the merger, and contrary to Defendants’ future revenue projections, the newly combined
Company’s revenues continued to decline after the merger. The Company also incurred a

number of additional expenses due to the merger and, during the integration process, lost a

44
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 45 of 69 PagelD #: 45

number of sales personnel, all as Defendant Slattery had previously predicted. As a result, the
combined Company’s rate of cash burn was even higher and its future revenue prospects grew
even dimmer. Defendants, at this point, had no reasonable basis to believe that the Company
would be able to achieve a favorable capitalization plan that would allow the Company to raise
adequate long-term cash without resorting to a lender that would fully encumber the Company’s
assets.

136. On June 28, 2013, the Company announced that it had entered into a settlement
agreement with the Department of Justice resolving the OIG investigation and the gui tam
complaint for approximately $6 million (payed out over time in quarterly installments).

137. Notwithstanding Defendants’ knowledge of the Company’s continual declining
revenue, increased rate of cash burn, additional integration expenses, loss of sales personnel,
unreasonableness of their future revenue and revenue growth projections, and lack of adequate
capitalization or an adequate long term capitalization plan, Defendant Reali forged ahead with
his unnecessary and expensive relocation of the Company’s former Wilmington, North Carolina,
headquarters and operating facilities to Raleigh, breaching his duty of care and wasting the
Company’s assets. The corporate relocation was distracting to the integration effort and very
expensive.

138. The relocation process was begun on October 24, 2012 when Defendant Reali
caused the Company to lease approximately 4,300 square feet of executive office space in
Raleigh to commence March 1, 2013. The initial lease cost the Company over $170,000
between July 2013 and November 2014. On June 30, 2013, Defendant Reali caused the
Company to triple its leased executive office space in Raleigh from just the 4,300 square feet
initially leased in October 2012 to a total of about 12,900 square feet. This increase resulted in

an additional cost to the Company of over $225,000 between July 2013 and November 2014.

45
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 46 of 69 PagelD #: 46

139. At the same time, the lease on the Company’s Wilmington facility was not due to
expire until December 7, 2014 and the lease on the former Baxano facilities in San Jose,
California was not due to expire until December 9, 2014. The Wilmington lease ran about
$21,300 per month while the San Jose lease cost another $30,200 per month. Thus, as a result of
the Raleigh relocation, the Company had to bear the cost of simultaneously maintaining three
major leases. The Company also had to incur many other duplicative costs related to
simultaneous operations at three facilities, such as insurance, maintenance and communications
systems,

140. In addition, the relocation required the Company to pay hundreds of thousands of
dollars in either severance or relocation expenses to certain Company employees. Defendant
Reali also authorized the expenditure of scarce Company funds to pay for new furniture at the
Raleigh facility and renovation expenses at the Raleigh facility.

141. This forced relocation was driven by Defendant Reali’s self-interest because he
and Defendant Slattery, who both lived in Raleigh, were two hours (approximately 134 miles)
from the Company’s then-existing Wilmington facility. While Defendants previously had leased
some small lab and executive space in Raleigh for training surgeons, Defendant Reali determined
to move the Company’s entire operations to Raleigh because he had been commuting from
Raleigh to Wilmington for several years, a trip that took roughly two hours each way.

G. The Company Fails to Meet Defendants’ Inflated Projections

142. On August 7, 2013, the Company’s Board held its regular meeting to discuss the
Company’s financial results through the second quarter of 2013, among other matters. At the
meeting, Defendant Slattery disclosed that the Company’s second quarter 2013 revenue (which
did not include any Baxano revenue) was only $5.7 million. Slattery explained that the revenue

miss was “due to: lower AxiaLIF cases than estimated.” He also disclosed that the Company’s

46
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 47 of 69 PagelD #: 47

net loss for the quarter was ‘6% worse than plan, in dollars equal to the gross profit miss on
lower revenue” and that the Company had once again lost active surgeon customers for the
AxiaLIF product, a continuation of the downward trend that had begun in 2009 and had not been
reversed despite Defendants’ heavy emphasis on, and expenditures to increase, its sales force.
As of the second quarter 2013, the Company’s base of just 55 active surgeons that would use the
product was at an all-time low since 2009.

143. On August 8, 2013, Defendants announced the Company’s (stand-alone) financial
results for the second quarter 2013 (i.e., prior to the Baxano transaction), including that it had
achieved just $3.9 million in revenue. More importantly, however, Defendants revealed that
they were lowering their revenue guidance for the third quarter ending September 30 and year
ending December 31, 2013. “[T]he Company expects total revenues in the range of $5.6 - $6.2
million. For the full fiscal year 2013, on a pro forma basis for the combined companies, the
Company now expects total revenues in the range of $23.5 - $25.5 million.”

144. This was plainly inconsistent with Defendants’ prior revenue projections to the
Board that the combined Company would have pro forma revenue of $33.4 for 2013. The new
guidance reflected an incredible 30% decline from the 2013 revenue projection in the Proxy
made just three months earlier — a difference that would tremendously impact the Company’s
cash burn, lack of available cash and decrease the time the Company would have to a cash “dry
well.”

145. No doubt seeing the proverbial writing on the wall, indeed the wall about to
crumble, Defendant Slattery resigned from the Company on or about September 27, 2013,

receiving a large severance payment in the process through his pre-existing severance agreement.

47
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 48 of 69 PagelD #: 48

H. Defendant Reali Presents Another Unreasonable Revenue and
Revenue Growth Forecast to the Board in Order to Take on an
Onerous Debt Obligation Secured Against All of the Company’s
Assets

146. On October 16, 2013, Defendant Reali executed a term sheet with Hercules
Technology Growth Capital (“Hercules”) to obtain up to a total of $15 million in desperately
needed cash to fund operations and pay off the Company’s existing unsecured term loan
(acquired in connection with the Baxano acquisition) of approximately $3 million. As initially
proposed, the Company could draw down the credit facility in three equal $5 million tranches,
with the second and third tranche each subject to the Company’s ability to hit certain revenue
targets. The credit facility had a floating interest rate initially set at 12.5%, was payable monthly
and had an initial nine month interest only period. It was to be secured by a perfected first lien
position on all of the Company’s assets, including its intellectual property. While entry into the
Hercules credit facility carried with it a $25,000 commitment charge, more importantly it
committed the Company to payment of a $127,500 “facility charge” (i.e., break-up fee) should
Baxano determine not go through with the credit facility.

147. Defendant Reali was plainly driven to execute the Hercules term sheet by his self-
interest relating to his compensation and continued employment with the Company. Indeed, in
connection with the approval for the Baxano transaction, the Board also approved on May 2,
2013, a 2013 Cash Bonus Plan for, among others, Defendant Reali (for up to 50% of his base
salary). Determination of Defendant Reali’s cash bonuses paid under the 2013 Cash Bonus Plan
had three components: a variable revenue target component (worth 50% of the bonus), an
available cash component (25%, but only if the minimum cash level was met) and a variable
individual performance target component (25%). The available cash component represented a

$50,000 Cash Bonus payment to Defendant Reali for 2013 if it was achieved.

48
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 49 of 69 PagelD #: 49

148. By mid-October Defendant Reali knew that if the Board determined to reorganize
or right-size the Company and not accept the Hercules credit facility or the Lincoln Park Capital
(“Lincoln Park’) equity line that he was about to propose to them (see next paragraph), the
Company might not hit the $4.2 million available cash target under the 2013 Cash Bonus Plan.
Defendant Reali knew this because, as of month end September 2013, the Company had a $2.4
million rate of monthly cash burn, $11.6 million available cash, and had incurred a nearly $1
million increase in accounts payable over the accounts payable balance as of August 31, 2013.

149. The Audit Committee of the Company’s Board met on October 29, 2013. Among
other things, Defendant Reali discussed with the Committee the need for the Hercules credit
facility, as well as the line of equity financing with Lincoln Park. Under the equity line, the
Company would have the right to sell to Lincoln Park up to a total of $7.0 million in shares of
common stock, subject to certain limitations, as often as every other business day over the 36
month term of the Purchase Agreement, at the Company’s sole discretion.

150. On October 30, 2013, the Board held its regular meeting to discuss the
Company’s third quarter 2013 financial results. The Company’s new Chief Financial Officer
reported the Company’s total revenue of about $5.3 million for the third quarter, noting that it
“was essentially flat versus Q2 (pro forma) but behind plan by 7.9%.” The CFO also reported
that “Cash at 9/30/13 of $11.6M is behind plan by $1.1M.” As reflected in the pro forma
consolidated balance sheet, the Company’s quarterly cash burn rate as of the third quarter of
2013 was approximately $7.2 million per quarter (net of approximately $530 thousand in merger
and integration expenses). Given the remaining available cash of $11.6 million, the Company
would be out of cash before the end of the first quarter of 2014.

151. Notably, the financial presentation to the Board revealed that the U.S. portion of

the Company’s pro forma revenue was lower than plan by 11.2%, reflecting a 3.2% decline from

49
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 50 of 69 PagelD #: 50

the prior quarter on a pro forma basis. In addition, a comparison of U.S. revenue by product
revealed that revenue from Baxano’s key i10-Flex and 10-Tome products had declined by
approximately $167 thousand, $445 thousand and $420 thousand, in the first, second and third
quarters of 2013, respectively, as compared to the fourth quarter of 2012 (the quarter in which
Baxano engaged in channel stuffing “stocking” transactions). Similarly, the comparison of U.S.
revenue by product revealed that revenue from the Company’s key AxiaLIF and VEO products
had declined by approximately $245 thousand, $31 thousand and $305 thousand, in the first,
second and third quarters of 2013, respectively, as compared to the fourth quarter of 2012 (the
quarter in which the channel stuffing China “stocking” transaction was booked).

152. Among other things, Defendant Reali represented to the Board at the October 30
meeting that “[t]he steps taken this quarter have put the company in a position for success in the
near term quarters... . Our four products all have the capability to grow with solid sales force
execution.”

153. Reali confirmed in his report that “the greatest risk continues to be AxiaLIF
driven by lack of broad private payor reimbursement for the category I code....” While Reali still
presented a positive view “that the levers we are pushing on will lead to eventual success
[regarding reimbursement strategy],” he acknowledged that “the timing is hard to fully
determine.” And, as previously had been a concern to Defendants following the 2011 surgeon
survey, Reali’s report to the board confirmed that the road would be long to removing surgeons’
view that AxiaLIF was a tainted product. As Reali explained:

We have had some fairly negative data published on AxiaLIF from a surgeon at

Cornel (Dr. Hartl). This data from cases performed in 2008-2009 focused on

negative results on the 2 level procedure. It did have an overall neutral to positive

review on the AxiaLIF one level but niched the technology into a very limited

indication. This paper brings about an important issue where all of the current
data on AxiaLIF is based on the old two level and one level technology. We have

50
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 51 of 69 PagelD #: 51

a concerted effort to drive clinical papers with the new ll+ and 2L+ technology
over the next couple of years.

All of this further demonstrates the unreasonableness of Defendants’ future revenue projections
for the Company made to the Board at critical times.

154. In addition, Defendant Reali’s Board presentation identified a number of
“weaknesses” in the Company’s then-current position as including “Past Outcomes of AxiaLIX,”
“Lack of significant private payor coverage for AxiaLIF,” “Cash Needs Could Limit More
Aggressive Investment,” and “Current Sales Team has not yet Executed.” More importantly,
Defendant Reali identified the “threats” facing the Company as including “Scrutiny on Medical
Necessity of Spinal Fusions,” and “Negative View of Spine by Investment Community.”

155. Notwithstanding these hurdles, and with reckless indifference to them, Defendant
Reali continued to tout the market opportunities for the Company, project positive future growth
prospects for AxiaLIF revenue and estimate future profitability at unreasonably high levels (but
now pushed off these projections in his presentation to the Board as part of a five-year “goal” for
“Q3 2016 through Revenue Growth and Disciplined Investment in R&D and Capital Expense
while increasing gross margins... .”). In particular, Defendant Reali projected in his Board
presentation the following future “Downside Case Revenue and Profits” of: $24.16 million
revenue and a $38.48 million loss for 2013; $33.03 million revenue and a $20.74 million loss for
2014; $44.00 million revenue and a $4.77 million loss for 2015; $60.01 million revenue and a
$7.43 million profit for 2016; $78.05 million revenue and a $19.99 million profit for 2017; and
$100.02 million revenue and a $28.40 million profit for 2018. Reali’s “Base Case Revenue and
Profits” and “Robust Case Revenue and Profits” were even more unreasonable.

156. While Defendant Reali’s “Downside Case Revenue and Profits” projection was

substantially reduced from what Defendants had previously represented to the Board, the

51
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 52 of 69 PagelD #: 52

Board’s advisor (Stifel), and the Company’s stockholders in the Proxy less than six-months
earlier, Defendant Reali did not inform the Board at the October 30 meeting that even his
reduced “Downside Case Revenue and Profits” projection had no reasonable basis, given his
knowledge about the Company’s financial difficulties and continually declining AxiaLIF
revenue, and therefore should not be relied upon by the Board.

157. In connection with the Financing Update and Discussion on Next Steps for the
Board at the October 30 meeting, Defendant Reali also reviewed the status of the Hercules credit
facility and next steps relating to its completion. In addition, Defendant Reali also reviewed the
benefits associated with the Lincoln Park equity financing arrangement.

158. Given the Company’s further deteriorated financial condition and lack of cash to
get through the first quarter of 2014, Defendant Reali knew or should have known that his
revenue projections continued to give the Board an unrealistic and unreasonable view of the
Company’s future prospects, all at an even more critical time when the Board immediately
needed to fully evaluate every possible option to take appropriate action to protect the Company
and its assets, including an immediate and complete reorganization and downsizing of the entire
operation.

159. Consequently, the Board did not have adequate information, but had
misinformation, when it considered and decided to allow Defendant Reali to move forward with
the credit facility and the equity line of financing with Lincoln Park. Notably, at that point the
Company was already committed to paying the $127,500 break-up fee should the Board decide
not to let Defendant Reali go forward with the credit facility, a factor that the Board could not
adequately weigh given its misperception of the Company’s future revenue and earnings

prospects due to Defendant Reali’s unreasonable future revenue and revenue growth projections.

52
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 53 of 69 PagelD #: 53

160. Thus, notwithstanding the Company’s dim future prospects (which the Board was
unaware of), the Board could not, did not and did not know that it needed to take appropriate
action to protect the Company and its assets, including an immediate and complete
reorganization and downsizing of the entire operation. But for Defendant Reali’s breach of his
duties of loyalty and care, the Board could have made the appropriate, fully informed decision, at
that time to reorganize and downsize the Company to eliminate cash burn, preserve cash and
save some of the value of the Company’s assets and shareholder value, despite the $127,500 cost
of the Hercules break-up fee that Defendant Reali had committed the Company to by signing the
Hercules term sheet. Indeed, had Defendant Reali informed the other Board members of the
unreasonableness of his revenue and revenue growth projections for the Company and of the
Company’s diminished future prospects, the other Board members would have known that they
would breach their own fiduciary duties to the Company if they did not consider immediately
reorganizing and right-sizing the Company to reasonably achievable revenue levels and forego
further funding from the Hercules credit facility that could not be repaid and from private
investors that would only be quickly consumed by the Company’s excessive rate of cash burn.

161, On November 19, 2013, the Finance Committee of the Board met to discuss the
status of the secured debt financing credit facility with Hercules and the equity line of financing
with Lincoln Park. By that time, Defendant Reali knew from a consolidated statement of
operations (created on November 14, 2013) as of month-end October 2013, that the Company’s
revenue to date for the fourth quarter of 2013 was 20% less than plan and that the net loss for the
quarter to date was nearly 30% more than plan. The Company’s monthly cash burn had
increased to just over $3 million, or about $720 thousand more than planned.

162. In addition, Defendant Reali also knew from the October 2013 consolidated

balance sheet (that was part of the October 2013 financial statement), that the Company’s

53
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 54 of 69 PagelD #: 54

available cash as of October 2013 was only about $7.5 million, approximately $1.6 million (over
18%) less than expected. Thus, at the $2.4 million September, or $3 million October, monthly
rates of cash burn, the Company likely would finish the year with available cash of just $1.5
million, well less than the $4.2 million minimum level needed for Defendant Reali to earn his
2013 Cash Bonus, let alone not enough to carry the Company for even the first month of January
2014.

163. To better manage cash to achieve the $4.2 million minimum target under the 2013
Cash Bonus Plan, Defendant Reali caused the Company to delay payments to the Company’s
vendors in November and December. For example, the Company’s $9.8 million in total current
liabilities as of November 30, 2013 increased by nearly $680 thousand from total current
liabilities of about $9.1 million as of October 31, 2013. And, from month end November 2013 to
month end December 2013, the Company’s accounts payable increased by approximately $1.3
million. In addition, the number of days outstanding on the Company’s accounts payable
increased substantially over this period.

164. On December 3, 2013, the Company entered into the Hercules credit facility,
which had been revised to permit an initial draw of $7.5 million in the first tranche, $2.5 million
in the second tranche (conditioned upon achieving $6.0 million in gross commercial revenue for
the fourth quarter of 2013) and $5.0 million for the third tranche (conditioned upon achieving
$7.0 million in gross commercial revenue for the first quarter of our 2014 and net proceeds of at
least $15.0 million from sales of equity securities on or before June 15, 2014). That same day,
the Company also entered into the equity line Purchase Agreement with Lincoln Park.

165. During December, Defendant Reali caused the Company to draw down $7.5
million from the Hercules credit facility, sell approximately $600 thousand worth of stock to

Lincoln Park, and repay the approximately $3 million outstanding term loan. But for this

54
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 55 of 69 PagelD #: 55

funding, and Defendant Reali’s actions — particularly including delaying vendor payments (and
$1.3 million increase in accounts payable) — the Company would not have achieved the
minimum $4.2 million cash target under the 2013 Cash Bonus Plan. Thus, Defendant Reali
would not have earned a corresponding $50 thousand cash bonus payment thereunder, along with
a substantial portion of his personal achievement component worth another $30,000.

166. In addition to his $400,000 annual salary for 2013 and $80,000 in 2013 Cash
Bonus Plan payment, Defendant Reali also was awarded a total of $355,145 in stock options (an
expense to the Company), for total 2013 Compensation of $835,145. As previously alleged,
Defendant Slattery received a material increase in his 2013 base compensation over the level of
his 2012 base compensation.

I. Continuing to Experience Declining Revenues and Lacking Adequate

Capitalization, the Company is Forced to File for Bankruptcy and Sell
its Assets to Repay its Secured Lender

167. During January and February 2014, Defendant Reali and the Board held a series
of meetings to discuss, among other things, the Company’s urgent need for additional operating
capital and the various options to obtain it. For example, on January 26, 2013, the Board met to
discuss the Company’s deteriorated cash position, types of available financing through an
investment banker presentation, and the selection and retention of a lead investment banker
structure.

168. On February 6, 2014, the Board held its regular meeting to discuss the Company’s
fourth quarter and year-end 2013 financial results, as well as the budget for 2014. At the
meeting, the Company’s CFO reported that total year 2013 pro forma revenue for the combined
Company was about $23.3 million, reflecting a decline from the total year 2012 pro forma
revenue for the Company (i.e., had it been combined in 2012) of $24 million. The CFO also

reported that fourth quarter 2013 revenue was $5.955 million. In addition, the CFO reported that

55
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 56 of 69 PagelD #: 56

the Company had a total of about $9.1 million in available and restricted cash on a consolidated
basis at year-end 2013, or only about $4.7 million net of the funding obtained from Hercules and
Lincoln Park in December.

169. The $5.955 quarterly revenue amount was less than the minimum $6 million
revenue threshold set by Hercules for the Company to draw the second tranche under the secured
credit facility without a waiver of that condition by Hercules. And, although the Company had a
total of about $9.1 million in available and restricted cash on a consolidated basis at year-end,
this reflected an enormous 79% decrease in the $40.8 million amount of such cash that
Defendants had projected in the May 2013 Proxy only 9 months earlier.

170. A December 2013 Financial Statement provided to the Board further reflected
that the Company’s quarterly rate of cash burn had increased in the fourth quarter of 2013 to
approximately $8 million, primarily as a result of further declining revenue and increased
expenses, including those relating to the OIG settlement. At the then-present revenue, expense
and available cash levels, the Company only had enough cash to survive through the first quarter
of 2014 unless the Company could raise more money by selling stock and convince Hercules to
permit a second draw,

171. During the February 6, 2014 meeting, Defendant Reali’s budget for 2014 was
presented to the Board (the “2014 Budget”). Notwithstanding the Company’s repeated failures
to achieve Defendants’ revenue and revenue growth projections in prior budgets, and the
continuing declining revenues particularly including through the fourth quarter of 2013,
Defendant Reali’s 2014 Budget again unreasonably projected first quarter 2014 revenue of about
$6.1 million, second quarter revenue of $7.1 million, third quarter revenue of $8.4 million and
total 2014 revenue of about $31.4 million (i.e., a total 2014 revenue growth rate of 34% over

2013 revenue levels). While this was less absurd than Defendants’ projected future revenue

56
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 57 of 69 PagelD #: 57

growth rates in the previous 2012 and 2013 Budgets, undated budgets, 2012 Long Range Plan
and Updated 2012 Long Range Plan, it still lacked a reasonable basis given the Company’s
historical experience and then-existing circumstances, including the difficulties with its sales
force following the integration of Baxano, continuing decline in AxiaLIF revenue, and long time
frame required to turn sales around given surgeons’ views regarding the AxiaLIF product as
“tainted.”

172. As before, Defendant Reali did not advise the Board at the February 6 meeting
that the revenue projections contained in the 2014 Budget lacked a reasonable basis. Without the
correct revenue projection or knowledge that the revenue forecast lacked a reasonable basis, the
Board did not take appropriate action to protect the Company and its assets, including an
immediate and complete reorganization and downsizing of the entire operation. Instead, the
Board determined to continue looking for additional financing options. Under the existing
circumstances of the Company’s dire cash situation, declining revenues, increased rate of cash
burn, loss of surgeon customer base, lack of a viable or adequate capitalization plan, the Board
needed to know that there was no reasonable basis to Defendant Reali’s continuing inflated,
albeit reduced, future revenue and revenue growth forecast in order to fulfill the Board’s own
fiduciary duties to the Company by not permitting Defendant Reali to continue pursuing cash
through any means necessary, particularly including the sale of the Company’s securities based
on unreasonable and unachievable revenue projections which could have exposed the Company
and the Board members themselves to liability for securities fraud.

173. On February 12, 2014, the Board met, discussed and approved the resolutions for
the Company to enter into a securities purchase agreement with two institutional investors,
Sabby Capital and DAFNA, to purchase up to an aggregate of $10.0 million of subordinated

convertible debentures (subordinated to the Hercules credit facility), along with 100 warrant

57
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 58 of 69 PagelD #: 58

coverage to purchase shares of common stock in a private placement transaction, all if approved
by the Company’s shareholders at the upcoming 2014 annual meeting. On February 19 and 28,
2014, the Board met again by phone conferences to discuss the status of an alternative revised
financing structure and decided to proceed forward with such option if necessary.

174. On March 3, 2014, the Company publicly filed its financial statements with the
SEC for the year ending December 31, 2013. PWC’s Report on its audit of those financial
statements included PWC’s statement of “substantial doubt about [the Company’s] ability to
continue as a going concern” through 2013.

175. On March 10, 2014, the Board met and approved the resolutions enabling the
Company to enter into the securities purchase agreement with Sabby Capital and DAFNA. As
before, Defendant Reali still did not advise the Board that his 2014 budget and future revenue
projections lacked a reasonable basis during any of the Company’s full Board or committee
meetings held from January 26 through March 10. Had he done so, the other Board members
would have known that they would breach their own fiduciary duties to the Company if they did
not adequately consider an immediate reorganization and right-sizing the Company to reasonably
achievable revenue levels and forego further funding from private investors that would only be
quickly consumed by the Company’s excessive rate of cash burn. As a result, the Board did not
take appropriate action to protect the Company and its assets, and instead, exposed the Company
to a potential securities fraud claim.

176. On March 11, 2014, the Company entered into the securities purchase agreement
with Sabby Capital and DAFNA. Among other things, Defendant Reali immediately authorized
payments to himself and other Company executives under the 2013 Cash Bonus Plan from the

cash they had received from the securities purchase agreement.

58
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 59 of 69 PagelD #: 59

177. As of March 31, 2014, the Company’s first quarter 2014 revenue totaled just $4.4
million, nearly $1.7 million less (28%) than Defendant Reali presented to the Board on February
6 in his 2014 Budget and approximately 26% less than the revenue the Company had achieved
during the fourth quarter of 2013. Moreover, as of the end of the first quarter 2014, the
Company had burned through $8.7 million in cash, a quarterly cash burn that was even higher
than the fourth quarter of 2013.

178. Incredibly, on April 11, 2014, Defendant Reali caused the Company to enter into
a further expansion of the leased facilities in Raleigh, increasing the then existing 12,862 square
feet of space by an additional 6,329 square feet at annualized cost of over $127,500 payable in
the amount of about $10,600 per month.

179. Due to the dire first quarter 2014 results, the Board met on April 14, 2014, to
review a revised 2014 budget for the Company (the “Revised 2014 Budget”), as well as to
discuss any possible available financing options given that the Company would be out of cash in
just five months. A presentation regarding the Revised 2014 Budget revealed much lower
projected total revenues for 2014 of just $25.4 million, compared to the $31.4 million that
Defendant Reali had presented to the Board only two months prior on February 6. Among other
things, the Revised 2014 Budget presentation noted that the new, greatly reduced, revenue
projection for 2014 was “Deliberately conservative to align with spending,” revealing that
Defendant had, and still was, basing revenue projections on whatever picture he wanted to
present to the Board, not on the realities of the Company’s situation of no growth at all or
negative growth. Thus, under no circumstances was it reasonable to conservatively align
revenue with spending, but rather spending should have been conservatively aligned with

actually conservative revenue projections that were based in reality, not on hopes and dreams.

59
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 60 of 69 PagelD #: 60

180. At the Company’s 2014 annual meeting held on April 17, 2014, the Company’s
stockholders approved an amendment to the Fifth Amended and Restated Certificate of
Incorporation, increasing the number of authorized shares of common stock from 75,000,000 to
150,000,000. This paved the way for the closing of the full amount of securities in the Private
Placement Transaction, which closed on April 22, 2014. The Private Placement Transaction
raised more cash that the Company simply burned through.

181. The Company’s revenues continued to fall during the second quarter 2014 and, in
fact, fell well below even the reduced level Defendant Reali forecasted to the Board in April in
his Revised 2014 Budget. The Company’s second quarter 2014 revenue totaled a mere $4.7
million, or $2.4 million (34%) less than the $7.1 million, Defendant Reali’s Revised 2014
Budget unreasonably projected for the second quarter 2014. Quarterly cash burn was nearly $6
million and, as of June 30, 2014, the Company only had about $2.3 million of available cash.

182. Having no adequate long term capitalization plan or ability to raise enough funds,
on November 12, 2014 (the “Petition Date”), the Company filed a voluntary petition for relief
under chapter 11 the Bankruptcy Code in the United States Bankruptcy Court for the District of
Delaware. During the course of the bankruptcy proceedings at the end of January and beginning
of February, 2015, all of the Company’s operating assets were sold and the proceeds were used
to repay the secured debt to Hercules and pay (or escrow for future payment) Administrative
Claims.

183. On July 24, 2015, the Bankruptcy Court entered an Order confirming the second
amended chapter 11 plan of reorganization (the “Plan’”’). Pursuant to the Plan all of the
Company’s remaining assets, including cash, accounts receivable and certain potential “Causes
of Action” as defined under the Plan were vested in a Liquidating Trust and the Plaintiff was

appointed the Liquidation Trustee with the task of prosecuting any viable Causes of Action.

60
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 61 of 69 PagelD #: 61

J. Defendants’ Concealment and No Right to Indemnification

184. The information alleged in this Complaint was concealed from public knowledge
and unavailable to Plaintiff until, at the very earliest, Plaintiff was retained as the Company’s
Chief Restructuring Officer on November 14, 2014. Shortly after the Company’s bankruptcy
Plan was approved by the Court on July 24, 2015, and Plaintiff was appointed Liquidation
Trustee, Plaintiff immediately retained outside counsel to investigate the potential claims alleged
herein. As such, Plaintiff alleges that any statute of limitations or laches period, to the extent
Defendants raise either as an affirmative defense, should be equitably tolled until at least
November 14, 2014. Plaintiff has acted diligently in investigating and prosecuting the claims
alleged herein.

185. Defendants are not entitled to indemnification from the Company or the
presumption that their actions alleged below are protected by business judgment. All of the
Company’s liabilities were discharged in bankruptcy and Plaintiff has no obligation to indemnify
Defendants. Moreover, Defendants’ actions constituted gross negligence, if not a reckless
disregard for the consequences of those actions, and Defendants violated their duty of loyalty.

Count I
Breach of Fiduciary Duties of Care and Loyalty Prior to Decision to Pursue Baxano
(Defendants Reali & Slattery)

186. Plaintiff incorporates paragraphs | through 86 and 184-185 above, as if fully set
forth herein,

187. As the President and Chief Executive Officer of the Company, Defendant Reali
owed the Company and its stakeholders the highest duties of loyalty and care in conducting the

Company’s affairs. As the Chief Financial Officer of the Company, Defendant Slattery also

owed these same fiduciary duties to the Company and its stakeholders.

61
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 62 of 69 PagelD #: 62

188. As part of their duties of care and loyalty, the Defendants were required to keep
the Company’s Board of Directors fully and timely informed regarding the Company’s
reasonably achievable future prospects, and to act with due care and good faith in doing so.

189. To discharge these duties, Defendants were required to, among other things, not
act with deliberate indifference to known circumstances and not make assumptions outside the
bounds of reason in preparing and providing to the Board and the Company’s advisors future
projections of the Company’s revenue and revenue growth. Thus, all projections prepared by
Defendants should have had a reasonable basis in light of the Company’s historical results,
current circumstances and known challenges.

190. Additionally, Defendants’ duties required them to refrain from preparing
forecasts, and providing misinformation to the Board, that served their self-interest rather than
the interests of the Company. Defendants’ fulfillment of these duties was essential so that the
Board members that depend upon that information could make their own fully informed
decisions.

191. Defendants breached these fiduciary duties in preparing and presenting to the
Board the 2012 Budget, 2012 Long Range Plan, and 2012 Updated Budget because they relied
on revenue and revenue growth projections that were outside the bounds of reason and
Defendants were recklessly indifferent to the consequences of those inflated revenue projections
to the Board, particularly given the Company’s declining revenues, lack of adequate
capitalization, high rate of cash burn, increasing losses of revenue and customers for its key
product, and the long term difficulties in solving those problems.

192. Had Defendants properly advised the Board of the Company’s true diminished
future prospects, or that their future projections lacked a reasonable basis, the Board would have

known to adequately consider whether to, and could have, right sized the Company in a manner

62
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 63 of 69 PagelD #: 63

appropriate for its reasonably expected reduced revenue levels. This would have preserved a
substantial portion of the Company’s assets and market capitalization, capped its accumulated
deficit, and eliminated the need to eventually enter into a secured credit facility in December
2013.

193. Asa result of Defendants’ breaches of duty, the Company was harmed because
the Board did not undertake, and did not know that they needed to undertake, measures to right-
size the Company. Specifically, the damages from the failure to right size the Company
occasioned by Defendants’ breaches of fiduciary duty can be measured based on the Company’s:
(1) total amount of cash burn from operations for the period May 2012 through the filing of
bankruptcy less the amount of reduced cash burn had the Company’s cost structure been
reorganized in a manner appropriate to for the Company’s actual revenue levels and downward
AxiaLIF revenue trends; (2) the difference between the value of the Company’s assets as of May
2012 and the net amount the Company recovered from the sale of those same assets in the
bankruptcy; and/or (3) the amount of debt and unpaid trade debt the Company accumulated from
the period May 2012 until the filing of bankruptcy.

Count II
Breach of Fiduciary Duties of Care and Loyalty Leading to,
and in Connection with, the Baxano Transaction
(Defendants Reali & Slattery)

194, Plaintiff incorporates paragraphs | through 134 and 184-185 above, as if fully set
forth herein.

195. Defendants Reali and Slattery owed the fiduciary duties of loyalty and due care
described herein.

196. As further alleged above, Defendants breached these fiduciary duties in late 2012

and through mid-2013 by, among other things, providing the Board with unreasonable and

63
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 64 of 69 PagelD #: 64

unachievable revenue and revenue growth projections of the stand-alone and combined
Company’s future revenue and revenue growth prospects and withholding adverse information
regarding the channel stuffing nature of Baxano’s inflated fourth quarter 2012 revenues, all of
which Defendants knew or should have known would be critical to the Board’s decision of
whether to acquire Baxano or instead restructure and right size the Company in a manner
appropriate for its actually achievable level of expected revenues,

197. Defendants’ future revenue and revenue growth projections in the 2012 Budget,
Revised 2012 Budget, 2012 Long Range Plan, Updated 2012 Long Range Plan, and 2013
Budget, as well as the Pro Forma Projections for the combined Company, all of which were
beyond the bounds of reason and prepared with reckless indifference to the Company’s known
circumstances, had the effect of tempering the Board’s view of the Company’s deteriorated
financial condition and true diminished future prospects (as a result of the collapsed AxiaLIF
product line and loss of the customer base) in favor of the viability of Defendants’ strategy to
acquire Baxano in a gambit to resolve the Company’s various financial difficulties. Having
perceived the combined Company’s future prospects as bright, the Board was inclined to acquire
Baxano and did not adequately consider restructuring and right-sizing the Company, which
would have saved a substantial part of its assets, cash flow and value.

198. Instead, Defendants’ actions caused a massive destruction in the value of the
Company’s assets. Specifically, the damages from the failure to right size the Company
occasioned by Defendants’ breaches of fiduciary duty can be measured based on the Company’s:
(1) total amount of cash burn from operations for the period November 1, 2012 through the filing
of bankruptcy less the amount of reduced cash burn had the Company’s cost structure been
reorganized in a manner appropriate to for the Company’s actual revenue levels and downward

AxiaLIF revenue trends; (2) the difference between the value of the Company’s assets as of

64
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 65 of 69 PagelD #: 65

November 1, 2012 and the net amount the Company recovered from the sale of those same assets
in the bankruptcy; and/or (3) the amount of debt and unpaid trade debt the Company
accumulated from the period November 1, 2012 until the filing of bankruptcy.

199. But for Defendants’ breaches of their fiduciary duties, the Baxano merger would
not have occurred and a substantial portion of the Company’s assets, market valuation and cash
flow could have been saved.

Count II
Breach of Fiduciary Duties of Care and Loyalty Leading Up To, And In Connection With,

The Hercules Transaction & Related Waste of Company Assets
(Defendants Reali & Slattery)

200. Plaintiff incorporates and alleges paragraphs 1 through 166 and 184-185 above, as
if fully set forth herein.

201. Following the Baxano transaction, Defendants continued to owe the fiduciary
duties of loyalty and due care described herein. Defendants also had the fiduciary duty not to
waste the Company’s assets or knowingly permit them to be wasted.

202. As further alleged above, Defendants breached these fiduciary duties by, among
other things, continuing to provide the Board with unreasonable and unachievable revenue and
revenue growth projections for the combined Company, all of which Defendants knew or should
have known would be critical to the Board’s decision of whether to restructure and right size the
Company after acquiring Baxano (in light of reduced revenue levels for the combined entity) or
continue to raise cash and incur debt.

203. Defendants’ continued presentation of inflated future revenue and revenue growth
projections to the Board during the third and fourth quarters of 2013 after the Baxano
transaction, notwithstanding the declining revenue results that were occurring, also were beyond

the bounds of reason and made with reckless indifference to the Company’s known

65
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 66 of 69 PagelD #: 66

circumstances. These continued unreasonable future revenue and revenue growth projections
had the continued effect of tempering the Board’s view of the Company’s deteriorated financial
condition and true diminished future prospects. As a result, the Board did not adequately
consider restructuring and right sizing the Company.

204. Instead, having still perceived the combined Company’s future prospects as
brighter than they actually were, the Board authorized Defendant Reali to complete the Hercules
credit facility that was secured against all of the Company’s assets at a time when the Company’s
revenues, and reasonably achievable future revenues, were not adequate to repay the Hercules
credit facility, particularly since the Company lacked an adequate long term capitalization plan.
Authorizing Defendant Reali’s strategy to obtain a credit facility from Hercules, and an
additional line of equity finance from Lincoln Park, assured that the Company would finish the
year with enough available cash so that Defendant Reali could earn the cash component of his
2013 Cash Bonus Plan compensation ~ a payment to Defendant Reali of $50,000.

205, In addition, during 2013, Defendants undertook an expensive, entirely
unnecessary and self-interested relocation of the Company’s headquarters from Wilmington,
North Carolina to Raleigh, North Carolina, at a time when the Company did not have the
resources to do so. Among other costs, this resulted in a number of severance payments, and
simultaneous additional leasehold payments. This relocation wasted the Company’s assets, was
designed to serve Defendants’ interests and not entirely fair to the Company.

206. Thus, Defendants’ actions further diminished the value of the Company and its
assets. Specifically, the damages from the failure to right size the Company occasioned by
Defendants’ breaches of fiduciary duty can be measured based on the Company’s: (1) total
amount of cash burn from operations for the periods August 7, 2013 or October 30, 2013 through

the filing of bankruptcy less the amount of reduced cash burn had the Company’s cost structure

66
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 67 of 69 PagelD #: 67

been reorganized in a manner appropriate for the Company’s actual revenue levels and
downward AxiaLIF revenue trends; (2) the difference between the value of the Company’s assets
as of August 7, 2013 or October 30, 2013 and the net amount the Company recovered from the
sale of those same assets in the bankruptcy; and/or (3) the amount of debt and unpaid trade debt
the Company accumulated from the periods August 7, 2013 or October 30, 2013 until the filing
of bankruptcy.

207. But for Defendants’ breaches of their fiduciary duties, the Company would not
have entered into the Hercules credit facility which was secured against all of the Company’s
assets and a substantial portion of the Company’s assets, market valuation and cash flow could
have been saved and the Company’s expenses would have been substantially lower. Indeed, by
causing the Company to draw down on the fully secured Hercules credit facility, without the

ability to repay it, Defendants encumbered the Company’s assets and reduced the value of the

Company.
Count IV
Breach of Fiduciary Duties of Loyalty and Care Leading Up to Bankruptcy Filing
(Defendant Reali Only)

208. Plaintiff incorporates and alleges paragraphs 1 through 185, above as if fully set
forth herein.

209. Defendant Reali had the continuing fiduciary duties to the Company of loyalty
and care as described herein after the credit facility with Hercules.

210. In light of the Company’s then-greatly deteriorated financial condition, lack of
adequate cash, lack of an adequate long term capitalization plan, and increased rate of cash burn,
Defendant Reali breached these duties through his continued presentation of inflated future
revenue and revenue growth projections to the Board during the first and second quarters of

2014, notwithstanding that the Company’s downward revenue trend was continuing. As such,

67
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 68 of 69 PagelD #: 68

Defendant Reali’s unreasonable revenue projections, made with reckless indifference to the
Company’s known circumstances, had the continued effect of delaying the Board’s decision to
restructure and downsize the Company until it was too late and the Company was forced to file
for bankruptcy protection and sell its assets to repay its secured lender, Hercules.

211. As a result of Defendant Reali’s breaches of duty, the Company was harmed
because the Board did not timely undertake measures to restructure and right-size the Company.
Had Defendant Reali fully informed the Board of the Company’s true diminished prospects in a
timely manner, the Board could have made the appropriate, fully informed decision, at a time it
still had enough cash to operate at a much reduced level and within the revenue level it was
achieving and the gross profit it was earning. This would have eliminated the Company’s cash
burn, preserved cash and saved some of the value of the Company and its assets.

212. But for Defendant Reali’s breach of his fiduciary duties, a substantial portion of
the Company’s assets, market valuation and cash flow could have been saved and the
Company’s expenses would have been substantially lower.

WHEREFORE, Plaintiff respectfully requests that the Court enter judgment in its favor as
follows:
a. Declaring that the Defendants breached their fiduciary duties to the
Company;

b, Awarding Plaintiff the damages caused by Defendants’ conduct in an
amount proven at trial and Directing Defendants to pay such damages to
Plaintiff, along with any pre- and post-judgment interest at the highest rate
allowed by law;
c. Disgorgement and recovery by Plaintiff of all cash bonuses and any
retention payments paid to Defendants by the Company during 2012, 2013
and 2014;

d, Awarding Plaintiff the costs and disbursements of this action, and
investigation relating thereto, along with reasonable attorneys’ and expert
fees, costs and expenses; and

e. Granting Plaintiff such other and further relief as the Court may deem
appropriate.

68
Case 1:15-cv-00994-MAK Document 1 Filed 10/30/15 Page 69 of 69 PagelD #: 69

DEMAND FOR JURY TRIAL

Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands a trial

by jury on all questions of fact raised by this Complaint.

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October 30, 2015

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69
